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    1                  IN THE UNITED STATES DISTRICT COURT

    2               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

    3

    4   United States of America,

    5                          Plaintiff,

    6   vs.                                 Criminal Action No. 3:20-cr-42

    7   Timothy John Watson,

    8                          Defendant.

    9

  10               Proceedings had in the initial appearance, detention

  11    hearing, and arraignment in the above-styled action on November

  12    17, 2020, before the Honorable Robert W. Trumble, Magistrate

  13    Judge, at Martinsburg, West Virginia.

  14

  15                                 APPEARANCES

  16    Appearing in person on behalf of the United States of America:

  17               Jarod J. Douglas
                   Assistant United States Attorney
  18               United States Attorney's Office
                   P.O. Box 591
  19               Wheeling, West Virginia 26003

  20    Appearing via Zoom on behalf of the defendant:

  21               Shawn McDermott, Esq.
                   Mills McDermott Criminal Law Center
  22               1800 West King Street
                   Martinsburg, West Virginia 25401
  23

  24    The defendant was present in person.

  25    Proceedings reported by means of digital recording; transcript
        produced by official court reporter.
                            Kate A. Slayden, CCR, RPR
              217 West King Street, Room 214, Martinsburg, WV        25401
                                   304-267-5688
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    1             (Digitally-recorded proceedings in open court.)

    2                     (November 17, 2020, 2:38 P.M.)

    3                                    - - -

    4              THE COURT:     Good afternoon, everyone.     Please be

    5   seated.

    6       All right.    If the parties are ready to proceed, Tara,

    7   would you call the case for me, please.

    8              THE CLERK:     This is the case of the United States of

    9   America versus Timothy John Watson, Criminal No. 3:20-cr-42.

  10        The Government is represented by counsel, Jarod Douglas,

  11    Assistant United States Attorney.        The defendant is present in

  12    person and by counsel, Shawn McDermott.

  13        Are the parties ready to proceed?

  14               MR. DOUGLAS:     The United States is ready, Your Honor.

  15               MR. MCDERMOTT:     Defendant is ready, Your Honor.

  16               THE COURT:     All right.     Good afternoon, everyone.       As

  17    an initial matter, we originally scheduled today for a

  18    preliminary hearing on a complaint and a motion for discovery.

  19    As a result of a recent indictment that was returned by the

  20    grand jury, the preliminary hearing that was scheduled on the

  21    motion for discovery is then terminated as moot.         And what

  22    we're going to be hearing today is going to be the initial

  23    appearance as to the indictment.         We're going to conduct a

  24    detention hearing and hold an arraignment.         So that's what's on

  25    our agenda for today.
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    1       We'll first turn to our initial appearance.          So with that

    2   in mind, let's do this.       The defendant is here in person, first

    3   of all, and we have a video conferencing waiver.          And let me

    4   ask you, Mr. McDermott, have you discussed the purpose of this

    5   video conferencing waiver with your client?

    6                MR. MCDERMOTT:     I have, Your Honor.    And just for the

    7   record, I contacted the Court yesterday and let them know about

    8   an issue that I was having in awaiting a COVID test.          And I was

    9   told that I had to quarantine until I got the results of that

  10    test back.     And so far I do not have any of the results back

  11    yet so of course there was accommodations that were made for me

  12    to appear by Zoom today so that we can conduct the initial

  13    appearance as well as the detention hearing that's been moved

  14    several times already.        So I've had a chance to discuss those

  15    issues with my client.        He understands that he has a right for

  16    me to be there present in person, and he wishes to waive that

  17    right so that we can proceed today on the detention hearing on

  18    the initial appearance.

  19                 THE COURT:   Well, I have a video conferencing waiver

  20    that appears to bear his signature.        So you've talked all those

  21    things with your client, and he understands that in order to

  22    conduct this with you being at a remote location and

  23    participating in video conferencing is the reason he signed

  24    this waiver; is that correct?

  25                 MR. MCDERMOTT:     Correct, Your Honor.
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    1              THE COURT:    All right.    Mr. Watson, you've had an

    2   opportunity to discuss the purpose for a video conferencing

    3   waiver with your attorney.      You understand the purpose of the

    4   video conferencing waiver and have agreed to it by signing this

    5   waiver; is that correct, sir?

    6              THE DEFENDANT:    Yes, Your Honor.

    7              THE COURT:    All right.    I find that the video

    8   conferencing waiver has been properly executed and direct that

    9   it be filed.

  10        Now, Mr. Watson, you do understand English; is that

  11    correct, sir?

  12               THE DEFENDANT:    Yes, Your Honor.

  13               THE COURT:    All right.    My name is Robert Trumble.

  14    I'm the United States Magistrate Judge.        Would you stand and be

  15    sworn by the clerk, please.

  16               THE DEFENDANT:    Yes, Your Honor.

  17        (The defendant was sworn in.)

  18               THE DEFENDANT:    Yes, ma'am.

  19               THE COURT:    Thank you, sir.    Please be seated.

  20               THE DEFENDANT:    Yes, sir.

  21               THE COURT:    Mr. Watson, are you a citizen of the

  22    United States?

  23               THE DEFENDANT:    Yes, Your Honor.

  24               THE COURT:    Would you state your full name for the

  25    record, please.
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    1                THE DEFENDANT:     Timothy John Watson.

    2                THE COURT:     And, Mr. Watson, what is your date of

    3   birth?

    4                THE DEFENDANT:     01/13/1990.

    5                THE COURT:     All right, sir.     And do you have a

    6   physical address where you reside?

    7                THE DEFENDANT:     Right now -- Shawn, is that -- I have

    8   an apartment, but I guess it --

    9                THE COURT:     All right.   Before you respond because

  10    we're doing this in video conferencing -- and I think for the

  11    record, we'll make this very clear.           In order for you to

  12    communicate with your attorney, you've been provided a

  13    telephone.     And Mr. McDermott is on the other end of a

  14    telephone line so that you can have a private conversation

  15    should you desire.        Before you decide to speak with your

  16    attorney or for that matter, Mr. McDermott, you need to talk

  17    with your client, you need to let the Court know so that we can

  18    take the information off the record.          And if I need to leave

  19    the bench, I'll need to do that.         So before you start to speak

  20    with your attorney, just let me know that you want to talk with

  21    your attorney, and we will mute the microphone so that it's not

  22    made part of the record, and you can speak with your attorney

  23    privately.     Do you understand, sir?

  24                 THE DEFENDANT:     Yes, sir, I do.

  25                 THE COURT:     All right.   Now, the question that I'm
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    1   asking is that if you were to be released, do you have a -- or

    2   where do you reside?     I have an address of 302 South Marshall

    3   Street, Apartment 2, in Ranson, West Virginia.         Is that your

    4   current address, sir?

    5              THE DEFENDANT:    That is my current address; however,

    6   if I were to be released with -- to -- it's my understanding

    7   that I would be released to my parents' address.

    8              THE COURT:    All right.    And we'll address that issue

    9   later on; but right now that's where you were residing at the

  10    time of the alleged actions in this indictment; is that --

  11               THE DEFENDANT:    Yes, sir.

  12               THE COURT:    -- correct, sir?

  13               THE DEFENDANT:    Yes, Your Honor.

  14               THE COURT:    All right.    Do you have a telephone

  15    number or a contact number where you can be reached?

  16               THE DEFENDANT:    Not at the moment, no, sir, I do not.

  17               THE COURT:    All right.    Thank you.

  18               THE DEFENDANT:    Yes, Your Honor.

  19               THE COURT:    Mr. Watson, all persons who are charged

  20    with a crime are to be brought before a judge as soon as

  21    possible after their arrest.      This is an initial appearance --

  22    at least this portion of it is today, and we're not here to

  23    determine your guilt or innocence; but I am here to let you

  24    know of the charges that are pending against you, to let you

  25    know you have a right to an attorney and determine whether
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    1   you'll be released pending your trial or whether we have to set

    2   a detention hearing.

    3       Now, you are charged in a multi-count indictment here in

    4   the Northern District of West Virginia by the grand jury.           You

    5   are charged in Count 1 of that indictment with conspiracy to

    6   commit offenses against the United States.        You are charged in

    7   Count 2 of that indictment with unlawful engaging in the

    8   business of manufacturing machine guns.        You are charged in

    9   Count 3 of that indictment with illegal possession and transfer

  10    of machine guns.    And you are charged in Count 4 of that

  11    indictment with possession of an unregistered firearm,

  12    specifically a silencer.

  13        Now, if you're found guilty of those violations, sir, the

  14    maximum penalty for the charge of conspiracy as set forth in

  15    Count 1 is up to 5 years of imprisonment, a $250,000 fine, and

  16    3 years of supervised release.      As to the unlawful engaging in

  17    business and manufacturing machine guns as set forth in Count

  18    2, you face up to 10 years of imprisonment, a $250,000 fine,

  19    and 3 years of supervised release.       As to the illegal

  20    possession and transfer of machine guns as set forth in Count

  21    3, it also has a maximum 10 years of imprisonment, $250,000

  22    fine, and 3 years of supervised release.        As to Count 4, the

  23    possession of an unregistered firearm, specifically a silencer,

  24    it also has a potential penalty of up to 10 years of

  25    imprisonment, a $250,000 fine, and 3 years of supervised
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    1   release.

    2       As an additional matter, there's a forfeiture allegation

    3   that's set forth in the indictment that would apply to you as

    4   well.

    5       Mr. Douglas, just for confirmation, did I get all those

    6   charges and all those penalties correct, sir?

    7                MR. DOUGLAS:     That is correct, Your Honor.

    8                THE COURT:     All right.   Thank you.

    9       You do have -- you should have been provided with a copy of

  10    your constitutional rights.        Do you have them there in front of

  11    you, sir?

  12                 THE DEFENDANT:     Yes, Your Honor.

  13                 THE COURT:     All right.   Well, let's see.

  14        Tara, do you have a copy of the constitutional rights there

  15    on the table so that I can read them out loud and make sure

  16    that I get everything correct in the constitutional rights?

  17    All right.     Thank you.

  18        All right, sir.       We've provided you with a copy of your

  19    constitutional rights, and they should be on the table in front

  20    of you.     I'm going to read them to you, and I'd like you to

  21    follow along with me, please.

  22                 THE DEFENDANT:     Yes, Your Honor.

  23                 THE COURT:     You have a constitutional right to remain

  24    silent.     If you give up your right to remain silent, anything

  25    you say can and will be used against you in this or any other
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    1   court of law.    Even if you may have given a statement to the

    2   police or others, you have a constitutional right to make no

    3   further statement to the authorities.        If you start to make a

    4   statement, you have a constitutional right to stop in mid-word

    5   or sentence and say no more.      You have a right to counsel to

    6   assist you in this matter.      If you cannot afford an attorney,

    7   you may qualify to have an attorney appointed to represent you.

    8   And whether appointed or retained, you have the right to the

    9   assistance of counsel at every stage of the proceedings against

   10   you and during any questioning by the authorities.

   11       Sir, do you understand your constitutional rights as I've

   12   read them to you?

   13              THE DEFENDANT:     Yes, Your Honor.

   14              THE COURT:    All right.    You have a right to retain

   15   counsel or ask that counsel be appointed for you if you do not

   16   have the funds to hire an attorney.        And in this case, you've

   17   exercised your right to retain counsel.        Mr. McDermott has been

   18   retained by you; is that correct, sir?

   19              THE DEFENDANT:     Yes, Your Honor.

   20              THE COURT:    And as a result, should that change in

   21   the future, you may apply to the Court for court-appointed

   22   counsel should it become necessary in the future.          Do you

   23   understand, sir?

   24              THE DEFENDANT:     Understood, Your Honor.

   25              THE COURT:    All right.    Now, the Government has filed
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                                                                            11




    1   a motion to detain you today so we're going to go ahead and

    2   conduct your detention hearing and your arraignments.           So with

    3   that in mind, that concludes our initial appearance, and it's

    4   now time to turn to our arraignment.

    5       Are the parties ready to proceed as to -- or excuse me --

    6   as to the detention hearing?          Excuse me.

    7                MR. DOUGLAS:     Yes, Your Honor.

    8                THE COURT:     Mr. McDermott?

    9                MR. MCDERMOTT:     Defense is ready, Your Honor.

   10                THE COURT:     All right.    With that in mind, I don't

   11   see any waivers on my bench so I'll turn it over to you,

   12   Mr. Douglas, if you would, please, sir.

   13                MR. DOUGLAS:     Thank you, Your Honor.    Your Honor, the

   14   United States calls Special Agent Mark McNeal.

   15       (The witness was sworn in.)

   16                THE WITNESS:     I do.    Over here?

   17                THE COURT:     It's this -- this is the right one.

   18                THE WITNESS:     They're opposite in the other

   19   courtroom.

   20                MR. DOUGLAS:     Your Honor, I have one housekeeping

   21   matter just before jumping into the examination of the witness.

   22   I am going to be showing the witness 15 marked documents as

   23   exhibits as well as a video clip.          I have yesterday sent copies

   24   of those by email to Mr. McDermott so he has all of those.             I

   25   also brought the hard copy documents of those exhibits I was
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    1   going to place next to Mr. Watson here.

    2              THE COURT:     All right.     Mr. McDermott, I understand

    3   that you've received the documents that the Government intends

    4   to introduce as part of this detention hearing; is that

    5   correct, sir?

    6              MR. MCDERMOTT:     I have, Your Honor.

    7              THE COURT:     And to the extent that they are marked,

    8   I'm assuming that Mr. Douglas will at some point either choose

    9   to introduce them as to evidence, and then you can speak any

   10   objection or agree to that as we proceed.

   11              MR. MCDERMOTT:     Thank you, Your Honor.

   12              MR. DOUGLAS:     And, Your Honor, I do have a court copy

   13   too --

   14              THE COURT:     Thank you.

   15              MR. DOUGLAS:     -- I'm tendering to the clerk.

   16        Your Honor, because I'm going to be using my laptop for

   17   the video clip, is it okay if I remain at counsel table for

   18   this?

   19              THE COURT:     It is, sir.

   20              MR. DOUGLAS:     Thank you.

   21                             DIRECT EXAMINATION

   22   BY MR. DOUGLAS:

   23   Q.   Agent McNeal, please speak into the microphone and

   24   introduce yourself to the Court.

   25   A.   My name is Special Agent Mark McNeal with the FBI.
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                                                                            13




    1   Q.   Sir, in that capacity, were you involved in an

    2   investigation of Timothy John Watson, the defendant?

    3   A.   Yes.

    4   Q.   Was that a joint investigation with other agencies?

    5   A.   Yes, it was.

    6   Q.   And did those other agencies include the ATF and the U.S.

    7   Postal Inspection Service?

    8   A.   Yes.

    9   Q.   Just as a general matter, what did that investigation

   10   reveal?

   11   A.   It revealed that Mr. Watson was manufacturing illegal

   12   machine gun parts in his apartment and distributing them

   13   throughout the country.

   14   Q.   And were those devices what the ATF refers to as drop-in

   15   auto sears?

   16   A.   Yes.

   17   Q.   And just to be clear, has the ATF been able to actually

   18   examine some of these devices sold by Mr. Watson?

   19   A.   Yes.

   20   Q.   And was one of those devices one that was sold to a

   21   customer in Minnesota?

   22   A.   Yes, it was.

   23   Q.   I gave you to take up to the stand with you some marked

   24   exhibits.     And if you'd take a look at Exhibit No. 1.       Is

   25   Exhibit No. 1 a photograph taken by the ATF of one of the
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                                                                            14




    1   Minnesota devices?

    2   A.     Yes, it is.

    3                MR. MCDERMOTT:     Excuse me, Your Honor.    I've lost the

    4   picture of the witness.

    5                THE COURT:     All right.    Give us one moment.

    6                MR. MCDERMOTT:     It's showing a picture of the exhibit

    7   and that's all I see.

    8                THE COURT:     Well, Mr. Douglas --

    9                MR. DOUGLAS:     Yes, sir.

   10                THE COURT:     -- and Mr. McDermott, since we all have

   11   copies of the exhibit, and they're all labeled, do we need to

   12   display them?

   13                MR. DOUGLAS:     No.   Only when we get to the video.       So

   14   we can just --

   15                THE COURT:     All right.    When we get to the video.

   16   So, therefore, we can just continue to display the witness on

   17   the stand; and if you would be specific when you're referring

   18   to a particular exhibit so that we all know what you're talking

   19   about.     Okay?

   20                MR. DOUGLAS:     Yes, Your Honor.

   21                THE COURT:     Mr. McDermott, does that work for you,

   22   sir?

   23                MR. MCDERMOTT:     That works better.    Thank you, Your

   24   Honor.

   25                THE COURT:     All right.
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    1   BY MR. DOUGLAS:

    2   Q.   Okay, Agent McNeal, so I'm asking you to look at what has

    3   been marked as Government's Exhibit No. 1 there.

    4   A.   Yes.

    5   Q.   And I believe you testified that that is a photograph from

    6   the ATF of one of the Minneapolis subject's purchased --

    7   A.   Yes.    That is correct.

    8   Q.   Okay.

    9                THE COURT:     Mr. Douglas, I'm going to interrupt for

   10   just a second.     Just to be clear, I have Exhibit 1-A and 1-B.

   11                MR. DOUGLAS:     1-A.    Yes, I'm sorry.    I did change it

   12   to 1-A because of the CD, yes.

   13                THE COURT:     So we're --

   14                MR. DOUGLAS:     It's 1-A.

   15                THE COURT:     -- referring to Exhibit 1-A --

   16                MR. DOUGLAS:     1-A.

   17                THE COURT:     -- just so that I'm not missing anything;

   18   correct?

   19                MR. DOUGLAS:     You're right, Your Honor.      Yes.

   20                THE COURT:     Mr. McDermott, is your -- are your

   21   exhibits marked the same way?

   22                MR. MCDERMOTT:     No.    I only have Exhibit 1, Judge.

   23                MR. DOUGLAS:     Because I ended up putting the clip on

   24   a CD calling it 1-B and changed that to 1-A.            That's the only

   25   change I made to the exhibits I sent to him.            Everything else
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                                                                             16




    1   is 2 through 15.

    2                MR. MCDERMOTT:     Okay.    So this -- what used to be

    3   Exhibit 1 is now 1-A?

    4                MR. DOUGLAS:     Correct.    Correct.

    5                MR. MCDERMOTT:     That's fine, Your Honor.

    6                THE COURT:     All right.    Thank you.   Go ahead,

    7   Mr. Douglas.     I apologize for the interruption.

    8                MR. DOUGLAS:     No.   That's my mistake.

    9   BY MR. DOUGLAS:

   10   Q.   Did the ATF also test-fire that device that's depicted or

   11   one like it from the Minnesota subject?

   12   A.   Yes, they did.

   13   Q.   And what was in -- what was involved in that process?

   14   A.   The device was taken and fitted into the lower receiver of

   15   an AR-15 or it could have been an M-16.          I'm not a hundred

   16   percent sure.     It was fitted into the lower receiver of a

   17   semiautomatic weapon.

   18   Q.   And what was the result of that?

   19   A.   It converted the weapon to fully automatic.

   20   Q.   And did the ATF examiner fire the weapon automatically with

   21   one trigger pull?

   22   A.   Yes.

   23   Q.   Okay.    I want you to take a --

   24                MR. DOUGLAS:     We would move to introduce Exhibit 1.

   25                THE COURT:     All right.    Any objection to the
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                                                                               17




    1   introduction of --

    2                MR. DOUGLAS:     1-A.    1-A.

    3                THE COURT:     I'm sorry?

    4                MR. DOUGLAS:     1-A.    I'm sorry.

    5                THE COURT:     All right.       Mr. McDermott, any objection

    6   to the introduction of Government's Exhibit 1-A into evidence?

    7                MR. MCDERMOTT:     No.    Not for purposes of this

    8   hearing, Your Honor.

    9                THE COURT:     All right.       It'll be so admitted as

   10   Exhibit 1-A.

   11        (Government's Exhibit No. 1-A was admitted.)

   12   BY MR. DOUGLAS:

   13   Q.   Agent McNeal, did the ATF also have the opportunity to

   14   examine other devices purchased through Mr. Watson's business?

   15   A.   Yes.

   16   Q.   Were there additional devices purchased by an undercover

   17   FBI agent?

   18   A.   Yes, there was.

   19   Q.   And was that just last month in October?

   20   A.   That is correct.

   21   Q.   Okay.    And did the ATF also test-fire one of those devices?

   22   A.   They did test-fire one of those devices, and they got the

   23   same result.     It transformed the semiautomatic weapon into a

   24   fully automatic weapon.

   25   Q.   Okay.    And did the ATF video and audio record that test?
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                                                                            18




    1   A.   They did.

    2   Q.   Is that clip on Exhibit 1-B?

    3   A.   Yes, it is.

    4              MR. DOUGLAS:     Your Honor, we would move to introduce

    5   Exhibit 1-B and play that video.

    6              THE COURT:     Mr. McDermott, I understand that you've

    7   received a copy of the video clip and that we've had some

    8   technical difficulties in displaying that by video Zoom today.

    9   Do you have any objection to the admission of Exhibit 1-B?

   10              MR. MCDERMOTT:     No, Your Honor.     I viewed it, and I

   11   have no objection for purposes of this hearing.

   12              THE COURT:     All right.   Now, Mr. McDermott, in order

   13   to display that here in the courtroom today, we may lose the --

   14   some of the witnesses that are present on the screen right now

   15   if the same situation occurs as did a few minutes ago when we

   16   had the Exhibit 1-A up on the screen.        So for the purposes of

   17   this hearing and to make the record complete, Mr. Douglas is

   18   going to at this point play the video, 1-B.

   19        (Play video.)

   20   BY MR. DOUGLAS:

   21   Q.   Agent --

   22              THE COURT:     All right.

   23              MR. DOUGLAS:     Yeah.

   24              THE COURT:     Just for the record, the Exhibit 1-B is

   25   admitted into evidence without objection.
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    1        (Government's Exhibit No. 1-B was admitted.)

    2                MR. DOUGLAS:   Thank you, Your Honor.

    3   BY MR. DOUGLAS:

    4   Q.   Agent McNeal, did that video depict the ATF examiner first

    5   firing a weapon just as a semiautomatic weapon?

    6   A.   Yes.

    7   Q.   Did that video then depict an installation of one of these

    8   devices that was purchased from Mr. Watson's business?

    9   A.   Yes, it did.

   10   Q.   And what did that show was the result?

   11   A.   It converted the weapon from semiautomatic to fully

   12   automatic.

   13   Q.   Agent McNeal, as part of the investigation, did the

   14   investigators look into customers who had purchased these

   15   items --

   16   A.   Yes.

   17   Q.   -- through this online business?

   18   A.   Yes, we did.

   19   Q.   Did records show that one of the purchasers early in

   20   January of 2020 was a Steven Carrillo, C-A-R-R-I-L-L-O?

   21   A.   Yes.

   22   Q.   And did those records also include a specific billing

   23   address, a street address?

   24   A.   Yes.

   25   Q.   Does that person's name and the street address match up
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                                                                            20




    1   with any individual that has been investigated or arrested by

    2   the FBI or law enforcement?

    3   A.     Yes.    Steven Carrillo back in I believe it was May of 2020,

    4   he shot and killed a federal guard at a federal building.           He

    5   was not taken into custody.        He was not captured at that time.

    6   A month later, investigators went to his home, and he shot a

    7   sheriff's deputy at that location.        And the address of his home

    8   where he shot the sheriff's deputy matches the address where he

    9   ordered from Mr. Watson and had one of these devices sent to

   10   him.

   11   Q.     To be fair, there is no evidence that Mr. Carrillo used one

   12   of these devices in those shootings?

   13   A.     That's correct.

   14   Q.     And specifically with regard to that Minnesota customer,

   15   was he a subject of an FBI investigation?

   16   A.     He was.     He -- he believed that he was supplying members of

   17   Hamas, an international terrorist organization, with drop-in

   18   auto sears.        He was actually dealing with an FBI undercover.

   19   Q.     Again, to be fair, there's currently no known evidence that

   20   Mr. Watson knew that this person was intending to provide these

   21   devices onto a foreign terrorist organization?

   22   A.     That is correct.

   23   Q.     Okay.     But let's talk about how this business was set up.

   24   Around how many shipments were made from this business?

   25   A.     Roughly 800.
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                                                                            21




    1   Q.    And are we talking about what?     Since the beginning of

    2   2020?

    3   A.    Yes.

    4   Q.    Okay.     And about how many states were these devices shipped

    5   to.

    6   A.    All fifty states.

    7   Q.    Have you reviewed the website that they were purchased

    8   from?

    9   A.    Yes.

   10   Q.    Did that website include language that invited the use of

   11   false names?

   12   A.    It did.     It encouraged people to order under whatever name

   13   they would like and that their identities would be kept secret.

   14   Q.    Did the Minnesota subject tell the FBI how he had learned

   15   about the website?

   16   A.    Yes.    He said he was informed of the portable wall hangers

   17   website through Boogaloo forums.

   18   Q.    What is Boogaloo?

   19   A.    It's a movement for people who believe that the government

   20   has too much overreach.       They're anti-law enforcement,

   21   anti-government.

   22   Q.    Was Steven Carrillo a self-claimed Boogaloo adherent?

   23   A.    Yes, he was.

   24   Q.    What about the Minnesota subject?

   25   A.    Yes.
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                                                                            22




    1   Q.   Was there advertising on the website tailored to attract

    2   Boogaloo adherence?

    3   A.   Yes.

    4   Q.   What's an example?

    5   A.   There was a fund set up that 10 percent -- I believe it was

    6   10 percent of all proceeds would go to the GoFundMe page for

    7   Duncan Lemp.

    8   Q.   And that was right on the website?

    9   A.   Right on the website.     And Duncan Lemp was a -- he was a

   10   man that lived in Potomac, Maryland, back in -- I can't

   11   remember the date.     I think it was maybe June.      There was a

   12   no-knock warrant issued for his residence because he was

   13   thought to be in possession of an illegal firearm.          He was shot

   14   and killed during that incident.

   15   Q.   Based on your experience and training, is it understood

   16   that Boogaloo adherence treated Duncan Lemp as a martyr of

   17   sorts?

   18   A.   Yes, they do.

   19   Q.   Did this investigation ultimately result in the execution

   20   of a federal search warrant on the residence of Mr. Watson?

   21   A.   Yes, it did.

   22   Q.   Did you also have in hand an arrest warrant on a criminal

   23   complaint issued by this judge?

   24   A.   Yes, we did.

   25   Q.   Did you also have on hand a search warrant for a vehicle
Case 3:20-cr-00042-GMG-RWT Document 37 Filed 12/02/20 Page 23 of 110 PageID #: 175

                                                                            23




    1   associated with Mr. Watson?

    2   A.   Yes, we did.

    3   Q.   Were you part of the team who entered Mr. Watson's

    4   residence that day?

    5   A.   Yes, I was.

    6   Q.   And was that on November 2, 2020?

    7   A.   It was.

    8   Q.   What did you see when you entered the residence?

    9   A.   After moving through the apartment and moving back to

   10   Mr. Watson's bedroom, there was a 3D printer that was actively

   11   printing out eight drop-in auto sears.

   12   Q.   I want to move to the next exhibit you have.         First of all,

   13   let me ask you generally.        Were there photographs taken during

   14   the execution of this search warrant?

   15   A.   Yes, there was.

   16   Q.   Okay.     Is Government Exhibit No. 2 an example of one of

   17   those photographs taken at the search warrant --

   18   A.   Yes.

   19   Q.   -- execution?

   20   A.   Yes, it is.

   21   Q.   What does it depict?

   22   A.   It shows the 3D printer with the eight drop-in auto sears.

   23                MR. DOUGLAS:     Your Honor, we would move to introduce

   24   Government Exhibit No. 2.

   25                THE COURT:     Mr. McDermott, any objection to the
Case 3:20-cr-00042-GMG-RWT Document 37 Filed 12/02/20 Page 24 of 110 PageID #: 176

                                                                             24




    1   introduction of Government's Exhibit No. 2?

    2                  MR. MCDERMOTT:     My only question, Judge, are these

    3   pictures that were taken at the residence or later on at --

    4                  MR. DOUGLAS:     Isn't that what cross examination is

    5   for?

    6                  MR. MCDERMOTT:     Yeah.    I'm just wondering where the

    7   pictures -- I don't think there was a basis established of

    8   where it was taken.

    9   A.     It was at the residence.

   10                  MR. DOUGLAS:     I said during the execution of the

   11   warrant.

   12   A.     Yes.

   13   BY MR. DOUGLAS:

   14   Q.     So these photographs we're about to look at, were they

   15   taken at the residence?

   16   A.     Yes, they were.

   17   Q.     Of objects in the residence?

   18   A.     Yes.    Correct.

   19   Q.     Okay.

   20                  THE COURT:     All right.    Mr. McDermott, any objection

   21   to the introduction of Exhibit No. 2, Government's Exhibit

   22   No. 2?

   23                  MR. MCDERMOTT:     No, Your Honor.

   24                  THE COURT:     All right.    Government's Exhibit No. 2

   25   will be admitted into evidence.
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                                                                            25




    1        (Government's Exhibit No. 2 was admitted.)

    2               MR. DOUGLAS:   Thank you, Your Honor.

    3   BY MR. DOUGLAS:

    4   Q.   I do want to just look a little deeper at No. 2 here just

    5   so we're all clear.     Do you see where there's a yellow card

    6   with a number 32?

    7   A.   Yes.

    8   Q.   Looks like an evidence number or something?

    9   A.   Yes.   That's an evidence number.

   10   Q.   And what is that intended to mark there?

   11   A.   It just indicates that that is item number 32.

   12   Q.   And are those the drop-in auto sears you were discussing?

   13   A.   Yes.   The placard above it that says 31 would be for the

   14   printer itself.

   15   Q.   Uh-huh.

   16   A.   And 32 would denote where the auto sears were found and

   17   that they would be entered into evidence separately from the

   18   printer.

   19   Q.   Thank you.   Were there also additional auto sears not

   20   laying on the printer but found elsewhere in that residence on

   21   November 2nd?

   22   A.   Yes.   I believe the number was 89, but it was definitely

   23   over 80.

   24   Q.   Was there a photograph taken in the residence on November

   25   2nd of a pile of those auto sears?
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                                                                            26




    1   A.   Yes.

    2   Q.   Is that depicted in Government Exhibit No. 3?

    3   A.   Yes, it is.

    4               MR. DOUGLAS:     Your Honor, we'd move to introduce

    5   Government Exhibit No. 3.

    6               THE COURT:     Mr. McDermott, any objection to the

    7   introduction of Government's Exhibit No. 3?

    8               MR. MCDERMOTT:     No, Your Honor.

    9               THE COURT:     Government Exhibit No. 3 will be admitted

   10   into evidence.

   11        (Government's Exhibit No. 3 was admitted.)

   12   BY MR. DOUGLAS:

   13   Q.   What is marked here by the number 59 evidence tag on

   14   Government Exhibit 3?

   15   A.   That would indicate that that is the 59th item of evidence

   16   that would be entered into our evidence log.

   17   Q.   And what are those items?

   18   A.   Those items are drop-in auto sears, 3D printed.

   19               MR. DOUGLAS:     And, Your Honor, just to streamline

   20   this a bit instead of chopping it up --

   21   BY MR. DOUGLAS:

   22   Q.   Agent McNeal, please look at Exhibit 4, 5, 6, 7, 8, 9, 10,

   23   11 and stop there.       Are those other photographs taken during

   24   the execution of the federal search warrant at Watson's

   25   residence on November 2, 2020?
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                                                                            27




    1   A.   Yes.

    2   Q.   And are those depicting different firearms, firearm

    3   silencers, different tactical gear and the like?

    4   A.   Yes.

    5               MR. DOUGLAS:     Your Honor, we'd move to admit Exhibits

    6   4 through 11.

    7               THE COURT:     Mr. McDermott, any objection to the

    8   admission of Government's Exhibits 4 through 11?

    9               MR. MCDERMOTT:     Not for purposes of this hearing,

   10   Your Honor.

   11               THE COURT:     Okay.    Exhibits -- Government's Exhibits

   12   No. 4 through 11 will be admitted into evidence.

   13        (Government's Exhibit Nos. 4 through 11 were admitted.)

   14   BY MR. DOUGLAS:

   15   Q.   Agent McNeal, please take a look at Exhibit 4.         What does

   16   that depict?

   17   A.   It is 3D printed parts that when combined make a

   18   suppressor.

   19   Q.   Like a firearm silencer?

   20   A.   Yes.

   21   Q.   And did the ATF, in fact, test these?

   22   A.   They did.    They actually found -- one of the rifles in

   23   Mr. Watson's apartment had a fitting on the end of it that once

   24   these four items were placed together to create the suppressor,

   25   it attached to that rifle.         ATF -- I don't know if they tested
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                                                                            28




    1   it on that rifle or not, but they tested this suppressor, and

    2   it met the qualifications to legally be a suppressor.          It

    3   brought the decibels down low enough to be an actual silencer.

    4   Q.   Okay.    And is that the subject of Count 4 which the grand

    5   jury found probable cause of?

    6   A.   Yes.

    7   Q.   Okay.    Let's take a look at Government Exhibit No. 5.        What

    8   is depicted in that exhibit?

    9   A.   A rifle.

   10   Q.   Is this rifle currently under analysis to determine whether

   11   it is a short-barrel rifle?

   12   A.   Yes.    The upper receiver on this rifle is a

   13   ten-and-a-half-inch upper receiver which depending on the

   14   configuration, it could be illegal.        ATF is still trying to

   15   determine that.

   16   Q.   Take a look at Government Exhibit No. 6.        What is depicted

   17   in that exhibit?

   18   A.   I would also just like to state that --

   19   Q.   Yes, sir.

   20   A.   -- for number 5 --

   21   Q.   Yes.

   22   A.   -- you can see on the front of it that that's the fitting

   23   that the suppressor went on.      The black piece that's sticking

   24   out from the front of the barrel.       So this was the weapon that

   25   this suppressor was set up to go to be hooked onto.
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                                                                            29




    1   Q.   You mean the firearm depicted in Government Exhibit No. 5

    2   was fitted for --

    3   A.   Correct.

    4   Q.   -- the suppressor?

    5   A.   Correct.

    6   Q.   Okay.     Now, can you tell us what is depicted in Government

    7   Exhibit No. 6?

    8   A.   It's a tactical vest and a Kevlar helmet.        It appears to be

    9   a Kevlar helmet.      It has a cover on it.    It looks like it has a

   10   swing arm on the front for night vision goggles.

   11   Q.   Can you read what it says on the helmet there?

   12   A.   It says -- it says "double tap."       If memory serves right,

   13   it says something like make sure you're careful or you're sure.

   14   Always double tap.

   15   Q.   Okay.     Please take a look at Government Exhibit No. 7.

   16   What is depicted in that exhibit?

   17   A.   A pistol.

   18   Q.   Does it bear an engraving?

   19   A.   It does.

   20   Q.   What does the engraving say?

   21   A.   It says the Biden Express.

   22   Q.   Oh.     Please take a look at Government Exhibit No. 8.       What

   23   is depicted there?

   24   A.   A rifle.

   25   Q.   And number 9?
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                                                                            30




    1   A.     A pistol with a magazine with rounds in it.       A clip.

    2   Q.     Number 10?

    3   A.     Another rifle.

    4   Q.     What is shown here in number 11?

    5   A.     There is one pistol, and it looks like a second pistol that

    6   might be in a holster.

    7   Q.     What about next to the bed leaning up against the wall?

    8   A.     A rifle.

    9   Q.     And let me ask, was this how these items were positioned

   10   upon entering the residence?

   11   A.     Yes.

   12   Q.     Where is this?   What room?

   13   A.     This is in the bedroom.

   14   Q.     So there's two handguns on the nightstand and a rifle

   15   leaning up against the wall?

   16   A.     Correct.

   17   Q.     Was there also a rifle on the other side of the bed leaning

   18   up against the wall?

   19   A.     I believe so, and I believe there was a rifle laying on the

   20   bed.

   21   Q.     Okay.   So that picture that you were talking about, that

   22   being fitted for a silencer, that was laying on the bed or was

   23   it another --

   24   A.     I believe that was the weapon that was laying on the bed,

   25   yes.
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                                                                            31




    1   Q.   So it wasn't placed on the bed or do you know for sure?

    2   A.   It wasn't placed on the bed by agents.        It was just there.

    3   Q.   Okay.

    4   A.   To the best of my knowledge.

    5   Q.   Okay.     Now, before moving to the next set of exhibits, were

    6   you part of the team that arrested Mr. Watson?

    7   A.   I was not.

    8   Q.   Okay.     Were you later informed about how his arrest went?

    9   A.   Yes, I was.

   10   Q.   Were you informed about what was located in or around his

   11   person?

   12   A.   Yes.

   13   Q.   Did that include a firearm, ammunition, and a knife?

   14   A.   It did.

   15   Q.   Okay.     Please take a look at Government Exhibits 12, 13,

   16   14, and 15.      Are those photographs of those items?

   17   A.   Yes, they are.

   18                MR. DOUGLAS:     Your Honor, the Government moves to

   19   admit Government Exhibits 12 through 15.

   20                THE COURT:     Mr. McDermott, any objection to the

   21   admission of Government's Exhibits 12 through 15?

   22                MR. MCDERMOTT:     Sorry.   I lost you there for a

   23   second, Your Honor.

   24                THE COURT:     Any objection to the admission of

   25   Government's Exhibits 12 through 15?
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                                                                            32




    1                MR. MCDERMOTT:     No.    Not for purposes of this

    2   hearing.

    3                THE COURT:     All right.    Exhibits No. -- Government's

    4   Exhibits 12 through 15 will be admitted into evidence.

    5        (Government's Exhibit Nos. 12 through 15 were admitted).

    6                THE COURT:     You may proceed, Mr. Douglas.

    7                MR. DOUGLAS:     Yes.    Thank you, Your Honor.

    8   BY MR. DOUGLAS:

    9   Q.   Agent McNeal, please take a look at Government Exhibit 12.

   10   Does that depict a handgun that was found on the person of

   11   Mr. Watson?

   12   A.   Yes, it does.

   13   Q.   Has the ATF also looked at this handgun?

   14   A.   Yes.

   15   Q.   What have they determined from looking at this handgun?

   16   A.   They determined it did not have a serial number.

   17   Q.   And is there technically an exception to having a serial

   18   number if it's made for personal use if it's literally created

   19   at home?

   20   A.   Yes.

   21   Q.   And did the agents -- did the agents believe based on a

   22   search of that residence that this was one that was created?

   23   A.   That's what they believe, yes.

   24   Q.   Okay.    But there still is no serial number on it?

   25   A.   Correct.
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                                                                            33




    1   Q.   Not that that's illegal --

    2   A.   Correct.

    3   Q.   -- but there isn't one on it; right?

    4   A.   That's correct.

    5   Q.   And Government Exhibit 13.      Does that depict the magazines

    6   that he had?

    7   A.   Yes.

    8   Q.   And were they all filled?

    9   A.   Yes.

   10   Q.   And 14.    Is that also the same magazines just from another

   11   angle?

   12   A.   Yes.

   13   Q.   Looking at the first magazine in that row of three

   14   magazines, it looks like there's something with the tip of the

   15   ammunition there.

   16   A.   Yes.

   17   Q.   What's that?

   18   A.   That magazine has hollow-point rounds.

   19   Q.   So he had also some hollow-point --

   20   A.   Yes.

   21   Q.   -- rounds of ammunition with him as well?

   22   A.   Right.

   23   Q.   And then number 15.     Is that the knife --

   24   A.   Yes.

   25   Q.   -- that he had?
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                                                                            34




    1   A.   Correct.

    2   Q.   Okay.     Now, following the arrest of Mr. Watson, did the FBI

    3   attempt to interview him?

    4   A.   Yes.

    5   Q.   Ultimately, did Mr. Watson invoke his right to counsel

    6   rightfully, and the interview was ultimately concluded -- it

    7   really didn't even take place --

    8   A.   Right.

    9   Q.   -- and he was taken to the regional jail?

   10   A.   Yes.

   11   Q.   Have you talked to those agents --

   12   A.   I have.

   13   Q.   -- about what it was like transporting him to that location

   14   for the interview and also transporting --

   15   A.   Yes.

   16   Q.   -- him to the jail?       Okay.   Were there any statements from

   17   Mr. Watson about being kidnapped?

   18   A.   Yes.     He claimed that the arrest was illegal --

   19                 MR. MCDERMOTT:    Objection, Your Honor.

   20                 THE COURT:   State your objection.

   21                 MR. MCDERMOTT:    First of all, if Mr. Watson

   22   invoked -- certainly.       If Mr. Watson invoked his right to

   23   counsel, I don't think that these statements can come in as it

   24   is anyway.      And then second, again, this is hearsay.      I

   25   understand it's a bond hearing where the evidence rules are
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                                                                            35




    1   relaxed, but I think without the -- this is an important issue

    2   and without the other agents here to testify on it, I don't

    3   think it should be entered into evidence.

    4                 MR. DOUGLAS:     Your Honor, I appreciate

    5   Mr. McDermott's objection, but the evidence rules aren't just

    6   relaxed.      They explicitly do not apply.

    7                 THE COURT:     Yeah, I'm going to overrule your

    8   objection, Mr. McDermott, and allow the testimony to continue.

    9        You may continue, sir.

   10   BY MR. DOUGLAS:

   11   Q.   What were you saying about a statement being made from --

   12   A.   He made a statement that the arrest was illegal, and he had

   13   been kidnapped.      And that was not the only time he made that

   14   statement.      I reviewed jail calls that he made from the time he

   15   showed up at the Eastern Regional Jail until the 13th of this

   16   month, and he had made statements during those calls that he

   17   was kid -- illegally kidnapped.

   18   Q.   Let me break that down.        First of all, you're saying during

   19   or right after the arrest, he said he was being kidnapped?

   20   A.   Right.

   21   Q.   Did the agents show or at least tell them about an arrest

   22   warrant?

   23   A.   Yes, they --

   24   Q.   Did they show him?

   25   A.   They showed him, yes.
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                                                                            36




    1   Q.   And he still said he thinks he's being kidnapped?

    2   A.   That's correct.

    3   Q.   And we're talking about the arrest warrant issued by this

    4   Court?

    5   A.   Correct.

    6   Q.   Okay.    And then he had time to go to the jail and spend

    7   some days; and you're saying even after that, he was still

    8   saying on jail calls he had been kidnapped?

    9   A.   That's correct.

   10   Q.   And that's after he made his initial appearance in federal

   11   court?

   12   A.   Yes.

   13   Q.   Okay.    Now, the investigation was ongoing; is that correct?

   14   A.   That's correct.

   15   Q.   Is that because there's tons of electronic data that was

   16   seized under the search warrant from the residence?

   17   A.   Yes.

   18   Q.   Okay.    But have there been certain reviews made that you've

   19   been made aware of?

   20   A.   Yes.

   21   Q.   Other electronic devices associated with Mr. Watson?

   22   A.   Yes.

   23   Q.   Did you find anything in there that would cause you concern

   24   for him to be released?

   25   A.   Yes.    There were some documents -- I don't know if I would
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                                                                            37




    1   call them manuals because I don't know how complete they were,

    2   but there were several documents that were found on the tablets

    3   or laptops that were seized from Mr. Watson.

    4   Q.   What are some examples of those -- what you're calling

    5   manuals or products?

    6   A.   There's one for 100 Deadly Skills:       The SEAL Operative's

    7   Guide to Eluding Pursuers, Evading Capture, and Surviving Any

    8   Dangerous Situation; Improvised Munitions Handbook; Undetected

    9   Hand Grenades; Modern Firearm Silencers; The Anarchists

   10   Arsenal:    Improvised Incendiary and Explosive Techniques; Booby

   11   Traps; and Techniques of Silent Killing.

   12   Q.   What is Techniques of Silent Killing?

   13   A.   I -- we have not looked into the manual yet.         That was just

   14   what we saw on --

   15   Q.   Did you see any images in it?

   16   A.   Yes.   There was an image on the front of -- it was a crude

   17   drawing of someone holding someone's head back from behind with

   18   a knife held high in the air.

   19   Q.   Was there also a document or manual called Ambush

   20   Formations?

   21   A.   Yes.

   22   Q.   Have you reviewed any videos of Mr. Watson practicing

   23   certain techniques?

   24   A.   Yes.   There was a video that was found of him practicing a

   25   quick draw from concealment, and then there was another video
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    1   of him -- he was in the woods.       He runs up into the frame and

    2   fires several bursts from -- it looked like an AR-type weapon.

    3   Drops it down and draws for his side arm, fires a few rounds,

    4   and does a quick load.     Changes out the clips and fires again.

    5   Q.   Now, at the time that the search warrant was executed on

    6   November 2nd, did Mr. Watson have a live-in girlfriend?

    7   A.   Yes, he did.

    8   Q.   What is her name?

    9   A.   Emily Cross.

   10   Q.   Okay.   Did investigators interview Ms. Cross at the

   11   residence that day?

   12   A.   Yes.

   13   Q.   Did the investigators seize a written journal of Ms. Cross

   14   that day?

   15   A.   Yes.

   16   Q.   Has Ms. Cross subsequently confirmed and corroborated the

   17   authenticity of that journal as being her handwriting?

   18   A.   Yes, she has.

   19   Q.   Has Ms. Cross retained an attorney and sat through another

   20   interview --

   21   A.   Yes, she has.

   22   Q.   -- with the FBI?

   23   A.   Yes.

   24   Q.   Voluntarily?

   25   A.   Yes, voluntarily.
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    1   Q.   Did the FBI find anything of relevance in the written

    2   journal?

    3   A.   Yes.     She had written down a statement that said, quote,

    4   "Also he's making these, quote, 'portable wall hangers' that's

    5   nothing but a 3D printed drop-in auto sear for firearms.           It's

    6   100 percent illegal in all forms, and I am scared that it will

    7   eventually" -- and then it just dot, dot, dot.

    8   Q.   Nothing --

    9   A.   Nothing.

   10   Q.   It stops at the bottom of that page?

   11   A.   Right.

   12   Q.   Anything else in the journal?

   13   A.   She had written down, quote, "You don't make me happy with

   14   your I'm gonna kill 'ems or the I'm gonna blow up that building

   15   or raid here or there or deface federal property."

   16   Q.   Regarding these two statements you've just read, has Emily

   17   Cross explained that when she said, "He's making these portable

   18   wall hangers that's nothing but a 3D printed drop-in auto sears

   19   for firearms," she's talking about Timothy Watson?

   20   A.   That's correct.

   21   Q.   The defendant?

   22   A.   Yes.

   23   Q.   And that when she said, "You don't make me happy with your

   24   I'm gonna kill thems," she's talking about Timothy John Watson,

   25   the defendant?
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                                                                            40




    1   A.   Correct.

    2   Q.   And when she said, "You're gonna blow up that building,"

    3   she's talking about Timothy John Watson, the defendant?           "Raid

    4   here or there and deface federal property."         She's talking

    5   about hearing that from Timothy John Watson, the defendant?

    6   A.   Right.     Correct.   We also got clarification from her on

    7   what --

    8   Q.   Well, let me ask you -- let me --

    9   A.   Sorry.

   10   Q.   Hold on.     Let me ask you when you did the follow-up

   11   interview or some of your colleagues or colleague did a

   12   follow-up interview, we're talking about with a counsel

   13   present?

   14   A.   Correct.

   15   Q.   Okay.    Did Ms. Cross elaborate on these "I'm gonna kill

   16   thems or blow up that building"?

   17   A.   Yes.

   18   Q.   What did she say?

   19   A.   She said that when referring to blow up that building that

   20   Mr. Watson was referring to the IRS building in Martinsburg.

   21   Q.   Did she describe the context of when that was said or why

   22   that was said?

   23   A.   He was upset about being able to pay his taxes with cash.

   24   Q.   That he wanted to pay them with cash?

   25   A.   He wanted to pay them in cash, but because of COVID, he was
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    1   told that he could not show up and pay in cash.

    2   Q.   And was there actually a video on Ms. Cross's phone of them

    3   going to the tax office to try to pay with cash?

    4   A.   There's a video on her phone.      It appears that Mr. Watson

    5   is recording it.     It seems like -- I don't hear anyone else in

    6   the video except for him talking to the lady that works at the

    7   tax office asking if he can pay with cash and stating that he

    8   should be able to.     And she said that because of the COVID

    9   restrictions, he wasn't allowed to.

   10   Q.   Did that video pick up anything else about what he said

   11   about that later?

   12   A.   That video did not, but there is another video on the phone

   13   that we seized from Ms. Cross.       It was a recording -- it was a

   14   video, but it was blacked out.       Like I don't know if it was

   15   recorded accidently or if it was just -- the camera was facing

   16   down, but he made the comments in referring to obviously his

   17   tax issue.    And I don't know for sure if he's referring to the

   18   woman in the video that we previously talked about, but he's

   19   obviously upset about his taxes, and he's talking about making

   20   a phone call to the tax office to get some information.           And he

   21   said, quote, "Those people need to fucking die."          And then he

   22   also said, quote, "Before COVID-19 ends, the world might call

   23   me a crazed gunman."

   24   Q.   And was this tax incident -- is there evidence about when

   25   that would have been?     Like was that in 2020?
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    1   A.   It was in 2020, yes.

    2   Q.   Okay.    Was there one more statement of relevance in the

    3   journal of Emily Cross?

    4   A.   She had made a statement that "What happened to the Tim I

    5   used to know and what Tim am I going to get today?"

    6   Q.   Okay.    Did Ms. Cross also tell the FBI about a statement

    7   Mr. Watson had made, "If they show up here, it won't be

    8   pretty"?

    9   A.   Yes.    When we initially interviewed her, she stated that he

   10   had made that statement referring to law enforcement officers.

   11   If anyone came to his door for arrest, a search, that it

   12   wouldn't be pretty.

   13   Q.   Did she elaborate on how she took that?        What she took that

   14   to mean?

   15   A.   She took that as it would be violent.

   16   Q.   From him?

   17   A.   From him.

   18   Q.   Toward law enforcement?

   19   A.   Correct.

   20   Q.   You had mentioned that you reviewed some jail calls.

   21   You're talking about from the Eastern Regional Jail since

   22   Mr. Watson's detention?

   23   A.   That's correct.

   24   Q.   Did he say anything in those about -- jail calls about not

   25   being able to make it in jail?
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    1   A.     Yes.    He stated several times that he can't live in jail

    2   and that he had to get out.        That he had been kidnapped.

    3   Q.     Was there a call in there or more calls than one with his

    4   girlfriend, Emily Cross?

    5   A.     Yes.

    6   Q.     Did he make any statements to her that were of interest to

    7   you?     Did he make any statements to her about wanting to marry

    8   her?

    9   A.     He did.     I believe it was the first phone call that he made

   10   he -- he wasn't talking to her.        He was talking to his parents.

   11   Q.     Okay.

   12   A.     And he said that he needed to -- they needed to get in

   13   touch with Emily because they had to get married immediately.

   14   It was imperative that they get married right now.

   15   Q.     Did he come right out and mention the marital privilege or

   16   --

   17   A.     He did not.

   18   Q.     Okay.     But he said, "We need to get ahold of her; we need

   19   to get married immediately"?

   20   A.     Yes.    Today.

   21   Q.     Okay.     And that's the girl who had been living at that

   22   residence where the 3D printed drop-in auto sears had been

   23   printed?

   24   A.     That is correct.

   25   Q.     And the firearm silencer had been seized?
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    1   A.   Correct.

    2                MR. DOUGLAS:     Your Honor, no further questions.

    3                THE COURT:     Mr. McDermott, cross examination.

    4                MR. MCDERMOTT:     Thank you, Your Honor.

    5                                CROSS EXAMINATION

    6   BY MR. MCDERMOTT:

    7   Q.   Now, Agent, in the first part of your testimony, you talked

    8   about these portable wall hangers that were seized by other

    9   agents and that were then tested by the ATF.         You recall that;

   10   correct?

   11   A.   Correct.

   12   Q.   And, Agent, I believe that when you were asked those

   13   questions, you were referred to Government's Exhibit 1-A;

   14   correct?

   15   A.   That is correct.

   16   Q.   And do you have that exhibit in front of you right now?

   17   A.   Yes, I do.

   18   Q.   Okay.    Now, if you're looking at the Exhibit 1-A, you see

   19   that there's -- it looks like three separate --

   20        (Audio distortion.)

   21   A.   Correct.

   22   Q.   -- in Exhibit 1-A.       Do you see that?

   23   A.   Correct.

   24   Q.   So those parts on the top would have been connected to that

   25   part on the bottom, correct, and that would have been the
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    1   portable wall hanger?

    2   A.   That depends on how they were shipped.        Some are shipped

    3   just the portable wall hanger itself, and some are shipped

    4   attached to the mounting bracket.

    5   Q.   Okay.    So there's some --

    6        (Audio distortion.)

    7                THE COURT:     Mr. McDermott, your signal broke up.      You

    8   need to repeat the question for me, please.

    9                MR. MCDERMOTT:     Okay.

   10   BY MR. MCDERMOTT:

   11   Q.   Agent, do you know how Exhibit 1-A --

   12        (Audio distortion.)

   13                THE COURT:     Do you need it repeated, sir?

   14                THE WITNESS:     I do, please.

   15                THE COURT:     All right, Mr. McDermott, one more time.

   16                MR. MCDERMOTT:     Can you guys hear me?

   17                THE COURT:     We can now.   Please repeat your question.

   18   BY MR. MCDERMOTT:

   19   Q.   Agent, do you know how -- do you know how Exhibit 1-A was

   20   shipped?     Was it together or apart?

   21   A.   I do not know how it was shipped.

   22   Q.   Okay.    And when you're looking at Exhibit 1-A though,

   23   there's two parts above attached to that part below to create

   24   the entire portable wall hanger; correct?

   25   A.   Correct.
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    1   Q.    Now, you said that the agents were able to take that part

    2   below of the portable wall hanger, the hook on the portable

    3   wall hanger, and insert it into a firearm that made it

    4   automatic; correct?

    5   A.    Correct.

    6   Q.    Now, do you recall what the agents had to do to that hook

    7   to make it actually work as a part that would convert the

    8   firearm to automatic?

    9   A.    Yes.    The ATF said that as these are shipped, they're

   10   considered machine guns; but to get them to fit into the AR-15,

   11   there's a little portion that needs to be filed and then placed

   12   in.

   13   Q.    When you say a little portion that needs to be filed, do

   14   you know what has to be manually filed off of the hook to make

   15   it work in a gun?

   16   A.    I do not.

   17   Q.    Okay.    Have you talked to the agents about what had to be

   18   filed?

   19   A.    I did speak to the ATF.    They kind of described it to me,

   20   but I don't know exactly where it needed to be filed; but they

   21   assured me that even if it was not filed, it's still considered

   22   a machine gun.

   23   Q.    So, again, I understand what the agents told you about what

   24   they believe the --

   25   A.    Yes.
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    1   Q.   -- commission of a machine gun is, but it's fair to say

    2   that the hook part would have to be modified in some way before

    3   it could work as a machine gun; correct?

    4   A.   Correct.

    5   Q.   And it's your testimony that you don't know how much it

    6   would have to be modified; correct?

    7   A.   I do not know how much.

    8   Q.   And you don't know how long it would have taken the agents

    9   to modify the hook; correct?

   10   A.   I know that the Minneapolis device that was tested, I

   11   believe it took 15 minutes for them to do whatever they needed

   12   to do to get it fitted into the AR-15.

   13   Q.   Do you know what tools they had to use to get it to fit

   14   into the AR-15?

   15   A.   I do not.

   16   Q.   Okay.   You believe that they had to use tools or did they

   17   just do it by hand?

   18   A.   I think they had to use a tool.

   19   Q.   Okay.   Do you know if -- when you're modifying the hook on

   20   this portable wall hanger, would it continue to be able to

   21   function as a hook after it was modified?

   22   A.   I -- yeah, as long as it fit inside the bracket, I don't

   23   see why it wouldn't.

   24   Q.   Okay.   But you don't know?     You haven't tested that;

   25   correct?
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    1   A.   I have not.

    2   Q.   Okay.   Now, the process in terms of modifying these hooks

    3   to make them fit into a firearm, you have no evidence that Tim

    4   ever told any customers how to do that; correct?

    5   A.   I do not.

    6   Q.   And, in fact, your evidence is and the conversations that

    7   you have I believe with the subject in Minnesota was that Tim

    8   had actually said that there's never any reason to modify the

    9   geometry of a portable wall hanger; correct?

   10   A.   Correct.

   11   Q.   So not only did he not give them instructions on how to

   12   modify, he also told them not to modify it; correct?

   13   A.   He said it didn't need to be modified.        He didn't tell them

   14   not to.

   15   Q.   Okay.   And let me ask you this.      When asked on how to use

   16   the portable wall hangers by customers, Tim would have referred

   17   the customers to a video on his website; correct?

   18   A.   Correct.

   19   Q.   And that video on his website was not showing this portable

   20   wall being used in a firearm; correct?

   21   A.   That is correct.

   22   Q.   It was showing how to attach it to a wall?

   23   A.   Correct.

   24   Q.   Okay.   Now, the portable wall hangers and the hook --

   25        (Zoom distortion.)
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    1   Q.   -- from Mr. Watson's residence, were any --

    2                THE COURT:   Mr. McDermott --

    3   Q.   -- of them modified in a way that would make them be able

    4   to be used in a firearm?

    5                THE COURT:   Mr. McDermott, the first part of your

    6   question got broken up.       Could you repeat that again for us,

    7   please.

    8                MR. MCDERMOTT:    Certainly, Judge.

    9   BY MR. MCDERMOTT:

   10   Q.   Now, the items that were recovered that you are classifying

   11   as machine guns, the hook portion of the portable wall hanger,

   12   you recall recovering those from Mr. Watson's residence;

   13   correct?

   14   A.   Yes.

   15   Q.   Now, were any of those modified in a way that would make

   16   them be able to be inserted and used in a firearm?

   17   A.   I don't believe any of those have been examined that

   18   closely yet.

   19   Q.   Okay.    Did you find any of those hanging on the wall being

   20   used as a hanger in his residence?

   21   A.   Yes.

   22   Q.   Okay.    So they were actually, in fact, used as a -- what

   23   they were said they were used for as being a wall hanger;

   24   correct?

   25   A.   Yes.    A couple were, yes.
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    1   Q.   Okay.     Now, you've testified on direct examination about

    2   this individual, Steve Carrillo; correct?

    3   A.   Correct.

    4   Q.   And you said that Steve Carrillo I guess as bad actor went

    5   out, and there was two different shootings that night he was

    6   involved in; correct?

    7   A.   That is correct.

    8   Q.   And I believe he killed a court security officer and then

    9   another officer who came to his house; correct?

   10   A.   Yes.

   11   Q.   Now, you testified, too, that there was no evidence that

   12   Steve Carrillo used a portable wall hanger in any of the

   13   firearms that he possessed; correct?

   14   A.   That is correct.

   15   Q.   Are you aware of whether anyone recovered a portable wall

   16   hanger at his residence?

   17   A.   I'm not.     It's my understanding that that investigation is

   18   still ongoing.

   19   Q.   Okay.     Do you have any evidence at all that Tim knew Steven

   20   Carrillo?

   21   A.   No.     None whatsoever.

   22   Q.   Do you have any evidence that Tim communicated with Steven

   23   Carrillo?

   24   A.   No.

   25   Q.   Do you have any evidence whatsoever that Tim supported the
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                                                                            51




    1   actions of Steven Carrillo?

    2   A.   Just shipping the drop-in auto sear.       That's all.

    3   Q.   Okay.    You found nothing in his computers or his phones or

    4   on his social media suggesting that Steven Carrillo should be

    5   commended; correct?

    6   A.   No, not at this point; but I will say we have not even

    7   scratched the surface really on revealing his electronic

    8   devices.     There was a lot for us to go through.

    9   Q.   Are you aware of whether the Boogaloo movement in general

   10   supported Steve Carrillo?

   11   A.   I know he was affiliated with them.       I do not have any

   12   exact statements where they supported him.

   13   Q.   Have you found any Facebook posts, social media posts, or

   14   anything on the computer of Tim talking about not supporting

   15   violence and not supporting those types of shootings?

   16   A.   Again, we're just looking into it; but I believe there was

   17   some sort of group that was made up.        And I can't remember the

   18   name of it, but it was a group that was affiliated with not

   19   committing violent acts.      I wish I could give you more detail

   20   on that.     I just -- I don't remember exactly what it was.

   21   Q.   All right.    Are you talking about a group that Tim was

   22   involved in?

   23   A.   It was on -- I can't remember if it was on his device or

   24   Emily Cross's device.

   25   Q.   Would that have been called Team Panhandle?
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                                                                             52




    1   A.   Yes, I believe it was.

    2   Q.   Okay.     And you're aware in that group they had a

    3   nonaggression policy; correct?

    4   A.   Yes, I did see that.

    5   Q.   Okay.     And, again, that was a group that Tim had formed;

    6   correct?

    7   A.   I don't know that.

    8   Q.   Okay.     But the nonaggression policy suggested that the

    9   group take no violent actions; correct?

   10   A.   That's correct.

   11   Q.   And that all violent actions were, in fact, illegitimate;

   12   correct?

   13   A.   Correct.     I believe so.   I don't --

   14   Q.   And is that something that --

   15   A.   I don't remember for sure but that sounds right.

   16   Q.   Okay.     Is that also something that Emily Cross told you in

   17   your debriefing with her that he had this nonaggression policy?

   18   A.   She told us about Team Panhandle.         That they would get

   19   together.      Where they had in the past gotten together to shoot

   20   rifles in the woods.      She didn't say anything about the

   21   nonaggression pact.

   22   Q.   Okay.     Did she tell you that the Team Panhandle was formed

   23   because Tim and others were -- did not like the certain facets

   24   of the Boogaloo movement?

   25   A.   No.     I believe what she told us was they were formed
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    1   because they -- they were all formed because of the Boogaloo

    2   movement.

    3   Q.   They were formed because of it?

    4   A.   Yes.    Because of their -- all of their connections to the

    5   Boogaloo movement.

    6   Q.   Okay.     Did she tell you that she was connected to the

    7   Boogaloo movement?

    8   A.   Through those forums.     She said that she did not have many

    9   girlfriends.      She hung out with the guys a lot.      And it was

   10   just something that they were in to.

   11   Q.   And do you -- so she described the guys that she hung out

   12   with as members of the Boogaloo movement?

   13   A.   No.     She said that they -- Team Panhandle was started

   14   because the members were affiliated with the ideology of the

   15   Boogaloo movement.

   16   Q.   Okay.     Now, the idealogy of the Boogaloo movement, you've

   17   suggested that their ideology is to incite violence; correct?

   18   A.   That is correct.

   19   Q.   And isn't it true though that Team Panhandle was explicitly

   20   opposed to that ideology, and they -- their principle was not

   21   inciting violence; correct?

   22   A.   Correct.     It's very contradictive.

   23   Q.   Okay.     Isn't it also true that when we're talking about

   24   this so-called Boogaloo movement, there's really no centralized

   25   definition of what the Boogaloo movement is; correct?
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    1   A.   Correct.

    2   Q.   And it's a general term that can include violent

    3   extremists; correct?

    4   A.   Correct.

    5   Q.   And it can also include people that are just concerned with

    6   Second Amendment rights; correct?

    7   A.   Correct.

    8   Q.   Okay.   And you have no evidence that Tim was in some way

    9   associated with -- in terms of being involved with a Boogaloo

   10   movement that was racially or ethnically motivated; correct?

   11   A.   No.

   12   Q.   And your evidence would suggest that he's involved with --

   13   more with the Second Amendment rights and that was one of his

   14   big principles; correct?

   15   A.   I haven't seen anything directly that showed -- other than

   16   the fact that he owned weapons, I haven't seen anything that

   17   shows me that he was a big supporter of the Second Amendment

   18   other than the fact that he owned weapons.

   19   Q.   Have you talked to anyone in the Team Panhandle?

   20   A.   I have not, no.

   21   Q.   Okay.

   22   A.   But we were told by Ms. Cross that no one from Team

   23   Panhandle, as far as she knew, had ordered a portable wall

   24   hanger.

   25   Q.   Okay.   Now, you also testified on direct examination about
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                                                                            55




    1   Duncan Lemp; is that correct?

    2   A.   Correct.

    3   Q.   Okay.     And now Duncan Lemp you said that there was an

    4   inclusion of a posting on the portable wall hanger website that

    5   suggested that a portion of the proceeds would go to a GoFundMe

    6   set up for him; correct?

    7   A.   Correct.

    8   Q.   Now, you're aware of the -- Duncan Lemp's situation,

    9   correct, that -- which led to his shooting?

   10   A.   Yes, I am.

   11   Q.   And you're aware that it's reported in local newspapers

   12   that he may have been asleep when the police conducted a

   13   no-knock warrant at his house; correct?

   14   A.   I have seen articles like that, yes.

   15   Q.   And, again, that's not -- we're not talking about -- these

   16   aren't some extremist Boogaloo articles or anything of that

   17   nature.      This is mainstream media articles suggesting he may

   18   have been asleep; correct?

   19   A.   Correct.

   20   Q.   Would it be fair to say that you can compare his shooting

   21   with what happened with Breonna Taylor that led to a lot of the

   22   Black Lives Matters protests?

   23   A.   I don't feel comfortable saying that.        I don't know enough

   24   about it.

   25   Q.   Okay.     But it's fair to say that there's a number of very
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                                                                            56




    1   reasonable people that would be upset about someone getting

    2   shot in his sleep by the police; correct?

    3   A.   If that were true, yes.

    4   Q.   Okay.   And you're aware that the GoFundMe was set up to

    5   support his girlfriend and his -- and the legal defense against

    6   the police; correct?

    7   A.   Correct.

    8   Q.   And there's nothing nefarious about that you'd agree;

    9   correct?

   10   A.   There was a text message sent to a Ms. Cross from

   11   Mr. Watson the day after Duncan Lemp was shot.         And Mr. Watson

   12   said yesterday at 4:30 A.M. -- I can't remember the name of the

   13   county where he was shot, but that the police shot one of his

   14   customers.

   15   Q.   That they shot one of his customers is what he said?

   16   A.   Yes.

   17   Q.   Okay.   Do you have any evidence that Duncan Lemp purchased

   18   a portable wall hanger?

   19   A.   I do not.

   20   Q.   Okay.   Now, this -- let me talk to you a little bit about

   21   this portable wall hanger website.       Now, you're aware of if

   22   someone wanted to sell something illegal, they can do it on the

   23   dark web; correct?

   24   A.   Absolutely.

   25   Q.   I think there's something called the Tor server where they
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    1   can do it and essentially remain anonymous; correct?

    2   A.   Correct.

    3   Q.   Tim didn't use the dark web in setting up the portable wall

    4   hanger website, did he?

    5   A.   No.

    6   Q.   And he didn't use a Tor server to hide his identity in

    7   setting up that website, did he?

    8   A.   No.

    9   Q.   Essentially, he opened the portable wall hanger website

   10   like you would any other eCommerce website.         Do you agree with

   11   that?

   12   A.   Yes.

   13   Q.   And it's fair to say he created a PayPal account to handle

   14   his --

   15        (Zoom distortion.)

   16   Q.   -- correct?

   17   A.   You kind of broke up there, but he had a PayPal account for

   18   transactions on the website.      Correct.

   19   Q.   Okay.   And in opening up that PayPal account, did he use

   20   his real name?

   21   A.   Yes.

   22   Q.   Did he use his real address, the 302 South Marshall Street

   23   address?

   24   A.   Yes.

   25   Q.   And did he use his actual phone number?
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    1   A.   Yes.

    2   Q.   And did he use his actual date of birth?

    3   A.   Yes.

    4   Q.   So he wasn't trying to hide anything with that PayPal

    5   account; correct?

    6   A.   It did not appear so, no.

    7   Q.   Are you aware that he registered the portable wall hanger

    8   business with the West Virginia Secretary of State?

    9   A.   Yes.

   10   Q.   Again, he used his actual name in registering it; correct?

   11   A.   Correct.

   12   Q.   He used his actual address when registering it; correct?

   13   A.   Correct.

   14   Q.   And I believe he used a Visa card with -- that contained

   15   his name to pay for the business registration; correct?

   16   A.   I believe that is correct.

   17   Q.   Okay.   And you're aware that he also opened up a Stamps.com

   18   account --

   19   A.   Correct.   Yes.

   20   Q.   Okay.   And, again, he used his actual name with that;

   21   correct?

   22   A.   Yes.

   23   Q.   He used his actual address?

   24   A.   Yes.

   25   Q.   He used his actual phone number?
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    1   A.   Yep.

    2   Q.   And the shipments that he made with the Stamps.com, the

    3   return address that was put on there was his return address;

    4   correct?

    5   A.   That is correct.

    6   Q.   He also registered the site with a web-hosting service.             I

    7   believe it's We Believe, Incorporated; correct?

    8   A.   Correct.

    9   Q.   Again, he used all his actual real information when

   10   registering this site, correct?

   11   A.   That is correct.

   12   Q.   So he did all his business with the portable wall hanger

   13   website openly you'd agree?

   14   A.   No.

   15   Q.   Okay.

   16   A.   I would not agree.

   17   Q.   And is that only because he used the Proton email address?

   18   A.   I mean the Proton email -- maybe he's just concerned about

   19   security, but Proton email is encrypted end to end.          Law

   20   enforcement cannot get contact -- or content to those emails

   21   even with a warrant.      But I would say that the business was not

   22   on an up and up because it was marketed openly so it would be

   23   deniability that he was making drop-in auto sears.

   24   Q.   Well, let me ask you this, Agent.       Anyone that looked at

   25   the website and was aware of firearms was aware that these
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    1   portable wall hangers looked like auto sears; correct?

    2   A.   I think it's safe to assume that the people that ordered

    3   them for that purpose knew that's what they were.

    4   Q.   Well, and if an ATF agent looked at the website, they would

    5   look at it and say, hey, those things look like auto sears;

    6   correct?

    7   A.   Yeah, probably.    Yes.

    8   Q.   And someone that's very familiar with firearms would look

    9   at the website and say, hey, those things look like auto sears;

   10   correct?

   11   A.   Correct.

   12   Q.   So, again, when you say that they're just trying to be

   13   hidden for a certain level of deniability, this was out in the

   14   open for anyone to see this website.        It wasn't hidden --

   15   A.   Correct.

   16   Q.   Okay.    Now, you testified about the arrest of Tim and what

   17   happened during that arrest; correct?

   18   A.   Correct.

   19   Q.   And he was arrested -- was he arrested -- it was not at his

   20   home.   Was it at a convenience store?

   21   A.   Yes.    He had left his home and driven to 7-Eleven.

   22   Q.   Okay.    And he didn't resist his arrest in any way; you'd

   23   agree with that?

   24   A.   Not that I'm aware of, no.      I think he was in custody

   25   pretty quickly.
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    1   Q.   And he didn't act violently towards the officers; correct?

    2   A.   No, he did not.

    3   Q.   And he did not curse at or otherwise verbally assault the

    4   officers, did he?

    5   A.   Not that I'm aware of, no.

    6   Q.   And he did not threaten the officers in any way?

    7   A.   No.   Not to my knowledge.

    8   Q.   The only thing he mentioned is that he thought he was being

    9   kidnapped; correct?

   10   A.   That is correct.

   11   Q.   And that's because he thought that what he was doing with

   12   the portable wall hangers was legal; correct?

   13   A.   I would say it's more like because he thought that it

   14   couldn't be proved that it was not legal.         I mean Ms. Cross

   15   states that he knows exactly what he was doing.          It was written

   16   in her journal.     I mean he knows what he's making.       So I don't

   17   think I can attest that he thought what he was doing wasn't

   18   legal or that it was legal.

   19   Q.   You're aware of the statutory definition of what is a

   20   machine gun; correct?

   21   A.   I have seen it, yes.     I don't have it in memory.

   22   Q.   And would you agree with me that in this case, the way that

   23   you're prosecuting Mr. Watson is under the part that says that

   24   a machine gun is any part designed and intended solely and

   25   exclusively or combination parts designed or intended for use
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    1   in converting a weapon into a machine gun; correct?

    2   A.   Correct.

    3   Q.   Now, it's possible that Mr. Watson believed that --

    4        (Zoom distortion.)

    5   Q.   -- portable wall hanger was not designed solely and

    6   exclusively for converting a weapon into a machine gun;

    7   correct?

    8   A.   No.    That's not correct.

    9   Q.   But he did have these things hanging on his wall.         You'd

   10   agree with that?

   11   A.   Right.     But I can reread the statement from Ms. Cross that

   12   says exactly what he knew he was doing.        Verbatim.    That he is

   13   -- "It's nothing but a 3D printed drop-in auto sear for

   14   firearms.     It is 100 percent illegal in all forms."

   15   Q.   Again, that's Ms. Cross's statement.

   16   A.   Correct.

   17   Q.   It's not Mr. Watson's statement.       Would you agree?

   18   A.   That's correct.

   19   Q.   And, again, the evidence is that Mr. Watson had created

   20   these things with the incorrect geometry that he put into a

   21   firearm; correct?

   22   A.   No.    That's not correct.

   23   Q.   Well, you testified that they had to be modified in some

   24   way --

   25   A.   That's correct.     That's correct.    But ATF says as they are
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    1   shipped -- as they are made and as they are shipped, they are

    2   machine guns technically.      Each one is a machine gun before

    3   it's -- whatever needs to be done to it to get it to fit.

    4   Q.   I understand that, but that's the ultimate issue of fact

    5   that's going to be decided in this case.        What I'm asking you

    6   is that the way that they were created, they were created with

    7   a geometry that would not fit into a firearm to make it a

    8   machine gun; correct?

    9   A.   No.     With a little bit of work, it can be fit into a

   10   machine gun.      There's a lot of ways to make a hook.      You can

   11   make a hook many ways, but there's only one way to make a

   12   drop-in auto sear.

   13   Q.   You're aware that a metal clothes hanger can be converted

   14   into a drop-in auto sear; correct?

   15   A.   I've heard that, yes.     I have not seen that, but I have

   16   heard that.

   17   Q.   But you've heard it.     So would the creation of a metal

   18   clothes hanger be considered creating a machine gun?

   19   A.   If it was put into the shape of a drop-in auto sear, yes.

   20   Q.   Okay.     Now, Agent, do you have any evidence whatsoever that

   21   any of these portable wall hangers were ever used in an act of

   22   violence?

   23   A.   No.

   24   Q.   Now, you testified on direct examination about Mr. Watson

   25   making some angry statements about the IRS; correct?
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    1   A.   Correct.

    2   Q.   You have no evidence that he ever planned to carry out

    3   anything against the IRS; correct?

    4   A.   I do not.

    5   Q.   It sounds like someone that was venting his frustration and

    6   exaggerating about dealing with the IRS; correct?

    7   A.   He was definitely venting his frustrations, yes.

    8   Q.   Okay.   And you don't have any evidence whatsoever of -- any

    9   electronic evidence that you seized of him trying to plan out

   10   any type of violent attack; correct?

   11   A.   Correct.    But we have not gone through all that yet.        I

   12   just want to be clear.     We have not reviewed everything yet.

   13   Q.   Okay.   Now, the firearms that were seized from his

   14   residence, you have no evidence that they were ever used in any

   15   crime; correct?

   16   A.   That's correct.

   17   Q.   Okay.   And you have no evidence that they were ever used in

   18   any violent acts; correct?

   19   A.   That is correct.

   20   Q.   And even though -- I think you testified that the one

   21   firearm didn't have a serial number on it.         That firearm is

   22   not, in fact, illegal; correct?

   23   A.   That's correct.

   24   Q.   And the firearm that was found on his person, carrying that

   25   on his person is not, in fact, illegal; correct?
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    1   A.   That's correct.

    2   Q.   And carrying that knife that was found on his person that's

    3   not in fact illegal; correct?

    4   A.   That is correct.

    5   Q.   Now, obviously all these items that were seized from his

    6   residence, you have them in evidence, and Mr. Watson does not

    7   have access to them anymore.      You'd agree with that?

    8   A.   Yes.    That's correct.

    9   Q.   Now, when you testified on direct examination, you said

   10   that there was a jail call where Tim told his parents that he

   11   wanted to marry Emily right away; correct?

   12   A.   That's correct.

   13   Q.   And, again, there was no mention of any kind of marital

   14   privilege or anything of that nature --

   15   A.   There was not.

   16   Q.   -- would you agree with that?      And that could have very

   17   well been him pronouncing his love for Emily; correct?

   18   A.   It could have been, yes.

   19   Q.   Okay.    Now, you said that when you reviewed the electronic

   20   evidence, you found a number of different manuals or documents

   21   on the computer; correct?

   22   A.   Correct.

   23   Q.   Now would it be fair to say that that was only a small

   24   sampling of many different things that he had on his computer?

   25   A.   Yes.
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    1   Q.   Did you see books about electricity, about physics, about

    2   many different --

    3   A.   I know there were books about mechanical techniques and

    4   building things.       I don't -- I'm not a hundred percent sure

    5   about the other ones you're talking about, but I know there

    6   were some books on mechanics.

    7   Q.   Okay.

    8   A.   Manuals.      Documents.     I don't know if they were books, but

    9   it was all digital.

   10   Q.   Now, in your debriefing of Ms. Cross, she never said that

   11   Tim acted in any way that was violent; correct?

   12   A.   No.     No.   Not to my recollection, no.

   13                 MR. MCDERMOTT:      I have no further questions at this

   14   time, Your Honor.

   15                 THE COURT:     Any redirect, Mr. Douglas?

   16                 MR. DOUGLAS:      Briefly, Your Honor.

   17                 THE COURT:     All right.

   18                                RECROSS EXAMINATION

   19   BY MR. DOUGLAS:

   20   Q.   Agent McNeal, you were asked a set of questions seeming to

   21   imply that these are not even auto sears.          Do you remember

   22   those questions?

   23   A.   Yes.

   24   Q.   Okay.     But did this investigation include the review of

   25   several electronic communications between Mr. Watson and his
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    1   prospective customers?

    2   A.   Yes.

    3   Q.   And are there multiple messages from customers where it's

    4   clear they believe they're buying an auto sear?

    5   A.   Yes.

    6   Q.   For example, did a customer ask how many keys -- and put

    7   keys in quotes -- does it roughly take before one breaks?

    8   A.   Yes.

    9   Q.   Did Mr. Watson say, oh, what are you quoting keys for;

   10   these are really wall hangers, man?

   11   A.   No.

   12   Q.   Okay.   In fact, did he respond that they're heat and impact

   13   resistant?

   14   A.   Yes.

   15   Q.   Okay.   Did another customer say I can't wait to get my car

   16   keys to go (descriptive sound) B-R-R-R-R-R-R-R?

   17   A.   Yes.

   18   Q.   Do you remember that one?

   19   A.   Yep.

   20   Q.   Did he say (descriptive sound), what do you mean B-R-R-R?

   21   These are just wall hooks, man.       I'm trying to get you to hang

   22   your coat on the wall.     A set of keys so you can grab them.

   23   A.   No, he did not.

   24   Q.   Okay.   Do you remember when that one customer said I can't

   25   figure out how to, quote, hang it on my wall so I can, quote,
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    1   grab my keys a lot quicker?      Do you remember that one?

    2   A.   Yes.

    3   Q.   Did Mr. Watson say, man, why are you putting quotations

    4   around my advertisements like that?

    5   A.   No.

    6   Q.   These are really to hang.      What are you doing that for?

    7   A.   No, he did not.

    8   Q.   Okay.   Do you remember that set of questions you were asked

    9   on cross examination that seemed to be implying this has

   10   nothing to do with the Boogaloo?

   11   A.   Yes.

   12   Q.   Do you even remember that one that was comparing Duncan

   13   Lemp to Breonna Taylor?      Do you remember that one?

   14   A.   Yes.

   15   Q.   Okay.   Do you remember that electronic communication where

   16   Watson calls a customer Sir Boogie?

   17   A.   Yes.

   18   Q.   B-O-O-G-I-E.

   19   A.   Yep.

   20   Q.   Okay.   Do you remember how multiple of the customers on

   21   Instagram had boi, B-O-I, or B-O-I-S in their user names?

   22   A.   Yes.

   23   Q.   And, in fact, one user name was Duncan Socrates Lemp?

   24   A.   Yes.

   25   Q.   Do you remember how one customer said the products only
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    1   worked in ArmaLite roles?      ArmaLite being a gun manufacturer.

    2   A.   That's correct.

    3   Q.   Do you remember one asking if it worked on a Scorpion wall,

    4   a Scorpion being a gun?

    5   A.   Correct.

    6   Q.   Okay.    Do you remember a set of questions you were asked

    7   that seemingly and trying to imply that this was all in the

    8   open?   Remember that things were all in the open?         He put his

    9   name on things?

   10   A.   Yes.    Yes.   That's correct.

   11   Q.   Okay.    But he used encrypted emails; right?       In fact, did

   12   he also encrypt use of VPN to encrypt his IP address as well?

   13   A.   That is correct.

   14   Q.   Okay.    Did he invite customers to use false names?

   15   A.   Yes.

   16   Q.   Okay.    Because you asked, you know, did Duncan Lemp --

   17   could you find a record that Duncan Lemp purchased an auto

   18   sear?   Do you remember being asked that?

   19   A.   Yes.

   20   Q.   Would it be helpful if people used their real names --

   21   A.   It would.

   22   Q.   -- and not invited to use false names?

   23   A.   Yes.    And I would like to say that we have not gone through

   24   who all received these yet.      We're still in the process of

   25   trying to discover that.
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    1   Q.   Okay.   The last thing I'll ask you about is the arrest.            I

    2   think you were asked a little bit about that.         He came out of a

    3   convenience store and --

    4   A.   Yes.

    5   Q.   Did you or other officers actually sit on his house for

    6   several hours that day --

    7   A.   Yes.

    8   Q.   -- waiting for him to leave?

    9   A.   Yes.

   10   Q.   Like how many hours do you think?

   11   A.   Starting from about 6 o'clock, and I believe he was

   12   arrested around 2:00 in the afternoon.

   13   Q.   Several hours then?

   14   A.   Yes.

   15   Q.   Why were you waiting for him to leave the residence?

   16   A.   Because we were trying to avoid any situation where he

   17   would have an opportunity to be violent towards us.

   18   Q.   Are you glad you made that decision after you saw all the

   19   firearms in the house?

   20   A.   Yes.

   21   Q.   Are you glad you made that decision after you heard the

   22   live-in girlfriend say he said if they come here, it won't be

   23   pretty?

   24   A.   Yes.

   25   Q.   So you're glad you waited until he left the house?
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    1   A.   Very glad.

    2                MR. DOUGLAS:     No further questions.

    3                THE COURT:     Mr. McDermott, any recross.

    4                MR. MCDERMOTT:     Just briefly, Your Honor.

    5                               RECROSS EXAMINATION

    6   BY MR. MCDERMOTT:

    7   Q.   Now, Agent, all those references to these portable wall

    8   hangers being something else, they were made by customers that

    9   were buying the portable wall hangers; correct?

   10   A.   Yes.    That is correct.

   11   Q.   And whenever they made those statements, I believe --

   12   except for the one about the keys -- Tim would go back and say,

   13   nope, these are meant to be hung on your walls; correct?

   14   A.   Correct.

   15   Q.   So he did respond to them and say, no, these are meant to

   16   be hung on your walls.        He didn't just say nothing.

   17   A.   Correct.     He responded back.

   18   Q.   Okay.

   19   A.   I mean I don't know if he responded back every time, but,

   20   yes, there were messages where he responded back saying to hang

   21   them here or hang them there.        Yes.

   22   Q.   But he never responded back telling them how to modify the

   23   geometry to make them work; correct?

   24   A.   He did not.

   25   Q.   Okay.
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    1              MR. MCDERMOTT:     Nothing further, Your Honor.

    2              MR. DOUGLAS:     Nothing further, Your Honor.        May this

    3   witness be excused?

    4              THE COURT:     You may step down, sir.

    5       (Witness excused.)

    6              THE COURT:     Mr. Douglas, where are your original

    7   exhibits that you want to have marked?         Are they the ones that

    8   you provided to the Court?

    9              MR. DOUGLAS:     Yes, Your Honor.

   10              THE COURT:     All right.

   11              MR. DOUGLAS:     Those will be the ones --

   12              THE COURT:     Be sure that those are with the Court.

   13       All right, gentlemen, we're going to take just a brief

   14   recess before we continue.      So with that in mind, we'll take

   15   about ten minutes.      We'll return in about ten minutes.        About

   16   ten after four.

   17       (Recess 4:00 P.M. - 4:16 P.M.)

   18              THE COURT:     Thank you.   Please be seated.

   19       All right.    Let's go back on the record, Tara.        We have

   20   everybody present.

   21       Mr. McDermott, are you still with us?

   22              MR. MCDERMOTT:     Yes, Your Honor.      I'm here.

   23              THE COURT:     All right.   Excellent.

   24       All right, Mr. Douglas, you may proceed, sir.

   25              MR. DOUGLAS:     Your Honor, the Government has no
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    1   further witnesses.

    2              THE COURT:     All right.

    3              MR. DOUGLAS:     The Government would proffer the

    4   contents of the pretrial services report which I would just

    5   highlight for the Court that the probation office had a

    6   negative assessment of nonappearance and for danger based on

    7   substance abuse history, unverified employment, nature of the

    8   offense, history involving a firearm.         And we would just

    9   emphasize that for the Court, and we would ask for an

   10   opportunity to make a legal argument once the defense has made

   11   any case they have.

   12              THE COURT:     All right.   Thank you, Mr. Douglas.

   13       Mr. McDermott, I'll take your response now to the proffer

   14   of the pretrial services report.       We do have a representative

   15   of the pretrial -- probation office available in the court

   16   should you choose to inquire.

   17              MR. MCDERMOTT:     Thank you, Your Honor.      And I think I

   18   can address probably some of those issues, but I know that some

   19   of them were addressed in the bond motion that we filed.           And

   20   it's probably best to just address them in argument when we get

   21   to it.

   22              THE COURT:     All right.   That will be fine then.

   23       Anything further from the Government?

   24              MR. DOUGLAS:     No, Your Honor.

   25              THE COURT:     All right, Mr. McDermott, do you have any
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    1   witnesses or evidence that you'd like to present at this time,

    2   sir?

    3                  MR. MCDERMOTT:     I believe so, Your Honor.     I'd like

    4   to call John Watson, the defendant's father, to the stand if

    5   he's there.

    6                  THE COURT:     All right.     Mr. Watson, if you're present

    7   in the courtroom, step forward.

    8          (The witness was sworn in.)

    9                  THE WITNESS:     I do.

   10                  THE CLERK:     Have a seat.

   11                  THE WITNESS:     Good afternoon, Your Honor.

   12                  THE COURT:     Good afternoon, sir.

   13                                 DIRECT EXAMINATION

   14   BY MR. MCDERMOTT:

   15   Q.     Mr. Watson, can you -- just make sure to speak loudly and

   16   clearly into the microphone.            Okay?

   17   A.     Yes, sir.

   18   Q.     Okay.    And can you please state your name -- your full name

   19   for the court reporter.

   20   A.     My name is John Joseph Watson.

   21   Q.     And where do you currently reside, sir?

   22   A.     3696 Lower Arkansas Road, Baker, West Virginia 26801.

   23   Q.     And what is your relationship to Tim, the defendant in this

   24   case?

   25   A.     Tim is my son.
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    1   Q.   Now, you and Tim's mother, Tammie, are married; correct?

    2   A.   Yes, sir.

    3   Q.   How long have you been married?

    4   A.   I think you asked how long I was married.        We've been

    5   married 37 years.

    6   Q.   And are you both currently retired?

    7   A.   Yes, we are.

    8   Q.   What did you and Tammie do before you retired?

    9   A.   I was an auto mechanic shop foreman for 38 years for,

   10   first, Tischer Volkswagon for 23, and then the rest of my

   11   career with Fitzgerald Auto Mall in Frederick.

   12   Q.   Okay.   Now, sir, I'd like for you to describe a little bit

   13   to this Court about your family.       So how many children do you

   14   have?

   15   A.   We have two boys.    Tim and his younger brother Michael.

   16   Q.   Okay.   And where is your other son Michael?

   17   A.   Michael lives in Asheville, North Carolina.

   18   Q.   And is he the one that's currently in drug rehabilitation?

   19   A.   Well, no longer.    He was in drug rehabilitation, but he has

   20   successfully -- well, you never successfully beat it, but he is

   21   fighting hard and is clean from heroin abuse.

   22   Q.   Okay.   Now, do you consider yourself a close-knit family?

   23   A.   Yes, sir, I do.

   24   Q.   Okay.   Where was Tim born?

   25   A.   Tim was born in PG County on a small farm that we had in
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    1   1990.

    2   Q.   And did you guys move somewhere when Tim turned around six

    3   years old?

    4   A.   Yes.    In 2006 we moved to Myersville, Maryland.       A small,

    5   little town community outside of Frederick, Maryland.

    6   Q.   And what was the reason for moving to Myersville?

    7   A.   We moved to Myersville to -- for our boys to have more of a

    8   rural community environment to grow up in.

    9   Q.   And how long was your family in Myersville for?

   10   A.   We were in Myersville 22 years, sir.

   11   Q.   Okay.    Now, sir, can you tell a little bit to the Court

   12   what Tim was like as a child?

   13   A.   From a very small age, Tim was a very talented young man.

   14   He loved music.     He loved the outdoors.     He always loved

   15   creating his own toys with things around the house.          He always

   16   enjoyed -- me being an auto mechanic, my son would always look

   17   forward to me bringing something -- an alternator or turbo or

   18   transmission parts -- home that we can go into the garage.           Tim

   19   would always want to know how they worked.         What made them

   20   work.   A very inquisitive, playful young man.

   21   Q.   And can you explain to the Court a little bit about Tim's

   22   relationship with some of your elderly neighbors in Myersville?

   23   A.   Yes.    In our -- well, I don't necessarily even call it a

   24   neighborhood.     Everyone -- it was a very rural area.       But Tim

   25   would help anyone that needed it.       There was one gentleman that
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    1   was his favorite in particular.       His name is Anthony Wolfe.

    2   Everyone called him Mr. Tony.       He was an older man.     Heavily

    3   involved in a Catholic church.       And he would oftentimes ask Tim

    4   if he could volunteer his time to help with some of the people

    5   in the community that aren't quite as fortunate as others.             Tim

    6   spent countless hours and days splitting firewood with Mr. Tony

    7   for those families who didn't have enough heating oil to get

    8   through the winter.     Tim would mow grass during the summer if

    9   it was too hot for the elderly to get out there and do this.

   10   Small home repairs.     Small home repairs because Tim

   11   (indiscernible) carpenters, but they would try to fix windows,

   12   leaky doors, clean gutters.      Anything that Mr. Tony needed, Tim

   13   would always stop and help.

   14   Q.   Now, is that attribute that your son has for caring for

   15   others, is that still a big part of his personality?

   16   A.   I'm sorry.   I'm having a -- could you --

   17              THE COURT:    Mr. McDermott, you may need to repeat the

   18   question for us, please.

   19              MR. MCDERMOTT:     Certainly.

   20   BY MR. MCDERMOTT:

   21   Q.   That attribute that you described of your son of caring for

   22   others at a young age, is that still a big part of his

   23   personality?

   24   A.   Oh, absolutely.    Tim has always been the person that stands

   25   and holds the door while people come in even though it's in the
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    1   rain.     On multiple occasions Tim has stopped when somebody is

    2   sitting on the side of the road with their flashers on just to

    3   see if they need assistance.        There's one particular situation

    4   that I was very proud of.      My son was on his way home from work

    5   one winter evening.      We have a lot of back roads through the

    6   mountains where we lived.      Tim kind of saw something out of the

    7   norm on the side of the road.        And instead of what most people

    8   would do and just continue home, he decided to stop.          Walked

    9   over to the edge.      And sure enough there was a vehicle that had

   10   gone over a small embankment and was flipped upside down.

   11          My son ran to the vehicle.     Found a gentleman inside.

   12   Assured the gentleman he would get assistance to help the

   13   gentleman.      My son had to run to get cell service because we

   14   don't have much cell service back in these back roads.           Called

   15   911.     Got back to the vehicle and stayed there with the

   16   gentleman until 911 arrived to assure the gentleman that he

   17   would be okay.      Not knowing whether the car would catch on fire

   18   or not, my son was just more concerned about making the man

   19   calm and safe and comfortable.

   20   Q.     Now, since that incident, is one of the things your son

   21   does to this day is carry around a medical kit in his vehicle

   22   in case he comes upon any emergency?

   23   A.     Yes.   Since that time -- as a matter of fact, it's a

   24   medical kit that I gave him.        He actually carries it in his car

   25   because he realizes how much they can come -- and none of us
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    1   know until you see the situation where bandages or anything may

    2   be needed; but, yes, he carries it in his vehicle at all times.

    3   Q.   Now, can you just describe a little bit and tell the Court

    4   a little bit about Tim's educational background?

    5   A.   Tim went to Myersville Elementary.       Then he went to

    6   Middletown Middle School and Middletown High School.          Two

    7   months prior to graduation, Tim and his guidance counselor had

    8   determined that he would be a few credits short of graduating.

    9   So he discussed with the guidance counselor and then came home

   10   and discussed with us how we felt that if he were to withdraw

   11   from high school and go get his GED.        We felt that as long as

   12   he got his high school diploma, we would stand behind him.           Tim

   13   immediately, you know, the following day applied to take the

   14   GED test which takes several weeks to get it all applied.           Tim

   15   withdrew from school, went down and took his GED test, passed

   16   it with flying colors, and has never looked back.          Has always

   17   continued to self-educate himself.

   18   Q.   Now, sir, I shared with the Court in a filing previously a

   19   letter from a Ms. Peggy Throne.       Could you describe to the

   20   Court a little bit about Tim's relationship with Peggy Throne?

   21   A.   Yes.    Peggy Throne was always -- well, she is a great

   22   woman.      She's retired.   Peggy Throne was Tim's guidance

   23   counselor through middle school and high school.          Luckily she

   24   happened to transfer as the classes went through.

   25        Tim was always that child.      Never a problem in school but
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    1   always -- he learns very quickly.       He likes a fast-paced

    2   environment, and sometimes he would get bored with school.

    3   Peggy Throne was someone that always knew what Tim was and how

    4   Tim was.    Tim talked with her on several occasions.        Peggy

    5   Throne always advocated for Tim.       She was always there for Tim.

    6   And to this day, they still keep in contact via Facebook or --

    7   I'm not a computer person, but they're still in touch even out

    8   through the years.

    9   Q.   And let me ask you this, sir.      Now, is Tim someone who has

   10   always been gainfully employed?

   11   A.   Yes.   Tim started working at the age of 15 because he knew

   12   that his mother and I -- we feel that, you know, you have to

   13   work to keep your own.      He started working at 15.      So we would

   14   match any money he saved for a car.        He had to continue working

   15   if he wanted to drive to pay the insurance.         So Tim has always

   16   been employed, yes.

   17   Q.   And can you just tell the Court just generally what Tim has

   18   done in terms of his employment?

   19   A.   Oh, let's see.    Tim was a prep chef at a golf course, a

   20   local golf course.     He then worked at Fitzgerald Auto Mall for

   21   a few years as a car (indiscernible) and then advanced to a

   22   service advisor.      He worked for the power company for about a

   23   year.   He worked for a tech phone company called Spirent for

   24   about two years or so I believe.       And his last job was working

   25   at the Knights Inn prior to being laid off due to the COVID
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    1   pandemic.

    2   Q.   Okay.     Now, if released on bail, do you think that Tim

    3   would be willing and would go out and find employment?

    4   A.   Absolutely.     If the Court would allow Tim, yes.      I think

    5   Tim feels it's his responsibility to take care of himself.             Not

    6   to ride on somebody's coattails.

    7   Q.   Okay.     Now, I understand from talking with you that the

    8   opioid epidemic has hurt your family like it has so many

    9   families across this country.       Can you explain to the Court a

   10   little bit of how Tim has tried to help different family

   11   members and friends that have been affected by the opioid

   12   epidemic?

   13   A.   Yes.    Tim watched his younger brother deal with the heroin

   14   epidemic.      He has successfully been through treatment but also

   15   his cousin, my sister's only son, was also stricken with the

   16   disease, with heroin addiction.       Tim on multiple occasions -- I

   17   worked and my wife could not always be everywhere at one place.

   18   Tim would volunteer to take his brother and also his cousin to

   19   out-treatment centers for them to get treatment.

   20        My son finally got into a full-time treatment center in

   21   North Carolina which was four years ago, but he still lives

   22   there.      That's where he's employed.    But my nephew came to live

   23   with us for about a month while we were trying to get him into

   24   a full-time treatment center just to get him away from his

   25   environment.      Tim spent countless hours and days talking with
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    1   our nephew, Jason.      Playing music.   Just trying to make him

    2   understand that life is too precious to waste on an addiction.

    3   Tim cared very deeply for him.       And unfortunately in 19 -- or

    4   I'm sorry, 2015, three days before Christmas, we lost our

    5   nephew to the addiction.      It devastated all of us.      Tim took

    6   that heartbreak -- because I had said earlier that he loves

    7   music and is a talented guitar player -- and wrote a song to

    8   play at my nephew's service.      Mainly for the purpose to give my

    9   sister and her husband maybe some little ray of sunshine in the

   10   most tragic time of their life.

   11   Q.   Now, sir, you've heard how the Government has tried to

   12   describe your son here today.       But have you ever seen your son

   13   act violently in any way?

   14   A.   No.    My -- no, I've never seen my son act violently.        And,

   15   Your Honor, I can assure you my wife and I would not be here

   16   today if we felt in any way that my son was a threat to anyone.

   17   And he knows that.      We're a strong-knit family.      I love my son.

   18   But we do not put up with violence, and I've never seen my son

   19   raise a hand to anyone ever.

   20   Q.   And, sir, have you ever heard your son advocate for

   21   violence?

   22   A.   Never.    No.   Just quite the contrary.     I mean my son -- I

   23   heard -- and I'm not a computer guy.        I heard -- you know, my

   24   son has a small group that he talks with that has a

   25   non-aggressive, non-violent rules -- set of rules.          And my son
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    1   lives by that.         My son is a good man.   He's not the man he's

    2   being portrayed as.

    3   Q.     And, sir, you're aware that your son has certain

    4   libertarian views and believes in the U.S. Constitution and the

    5   Second Amendment; correct?

    6   A.     Yes.     Yes.   My son believes strongly in the constitution.

    7   My son is a good American.         He's a good U.S. citizen.

    8   Q.     Have you ever heard him advocate though for the violent

    9   overthrow of the Government or anything like that?

   10   A.     Never.     Never.

   11   Q.     And is it fair to say that you see your son pretty often;

   12   correct?

   13   A.     Yes.     My son makes the hour and a half drive at least

   14   three, four -- maybe two or three or four times a month to come

   15   to the house to speak with my wife, myself, my mother-in-law.

   16   She's elderly.         She lives with us.   We have to take care of

   17   her.     But, yes, we're an open family.       We discuss -- we may not

   18   always agree, but we're never afraid -- my boys are never

   19   afraid to discuss anything with us.

   20   Q.     And in terms of those discussions, you never heard him

   21   discuss any kind of violent idealogy; correct?

   22   A.     Absolutely.     Never.

   23   Q.     Now, you've had a chance to talk with Tim since he's been

   24   arrested; correct?

   25   A.     Yes.     We try to speak with him every morning.    We have 15
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    1   minutes every morning.

    2   Q.   And is one of the things that he's told you is expressing

    3   remorse for putting you and his mother and his family through

    4   this?

    5   A.   Yes.   My son is actually in tears every morning apologizing

    6   to my wife and I for the situation that we're in.          My son means

    7   no harm to anyone, and my wife and I literally have to beg him

    8   to please be strong for himself.       That his mother and I have

    9   each other to hold on to.      We just want him to be strong for

   10   himself.    He doesn't belong where he's at.

   11   Q.   Now, if Tim is released -- if the judge decides to release

   12   him pending trial, do you believe that he will appear in court

   13   as required?

   14   A.   Oh, absolutely.    My son will follow every rule and

   15   guideline set by this Court.      Absolutely.

   16   Q.   And do you believe if he's released pending trial, would he

   17   pose a danger to anyone?

   18   A.   Absolutely not.    Like I said, I would not be sitting in

   19   this chair today if I felt my son was a threat to anyone.

   20   Q.   And do you believe that he'll be able to abide by any

   21   conditions set for him by the Court?

   22   A.   Yes.   He's an upstanding young man.       He will follow every

   23   guideline set.    I assure you.

   24   Q.   And would you also be willing to allow your son to reside

   25   at your residence while on pretrial release and home
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    1   confinement?

    2   A.   Yes.    We've already made arrangements for that for my son

    3   to come home and stay with us.       I'm just going to say this for

    4   the Court.     That I was a hunter so all weapons, ammunition,

    5   everything has been removed from our house in preparation if

    6   the Court so allows our son to come home.         That there's a safe

    7   place for him to stay, yes.

    8   Q.   Okay.    And so I was going to ask you about that.       In terms

    9   of he grew up around firearms and hunting with you; correct?

   10   A.   Yes.    My son from a very young age was taught gun safety,

   11   the care of a gun, the dangers of a weapon, and my son respects

   12   those rules.

   13   Q.   And now let me ask you this.      And, again, you have no

   14   problem with removing the firearms and not going hunting or

   15   doing anything of the sort if he's going to be living there

   16   with you; correct?

   17   A.   They are already removed.      I removed every weapon, every

   18   piece of ammunition from our home.

   19   Q.   And, sir, I think we've talked a little bit about the

   20   concept of a third-party custodian.        Would you be willing to

   21   supervise your son's release and report to the Court any

   22   violations that he may have?

   23   A.   Absolutely.    My wife and I are upstanding, and we know our

   24   son is a good man.     But, yes, we will follow every rule that's

   25   set forth.
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    1   Q.   Okay.     And isn't it also true, sir, that you would be

    2   willing to put up your property and your home as collateral to

    3   secure your son's release?

    4   A.   Yes.    Yes, we would.      We have no fear of our son not

    5   appearing for court.         We will put up everything that we've

    6   worked for.

    7   Q.   And, again, this is a property where you are now retired,

    8   and you're not a wealthy person; correct?

    9   A.   No.     We're not wealthy.     We're just standard working folks,

   10   but we are willing to -- we have everything that we've worked

   11   for our whole lives in our retirement home.            And, yes, we are

   12   willing to put that up to show that our son will appear and

   13   follow every rule.

   14   Q.   And that's how sure you are that he can follow the

   15   conditions of bond; correct?

   16   A.   I have -- there's not a doubt in my mind.

   17   Q.   Okay, sir.        I have no further questions.     The Government

   18   might have some questions for you though.            Okay?

   19   A.   Okay.     Sure.

   20                THE COURT:      Mr. Douglas.

   21                MR. DOUGLAS:      Your Honor, the Government has no

   22   questions.

   23                THE COURT:      All right.     No questions.    You may step

   24   down, sir.

   25                THE WITNESS:      Thank you, Your Honor.
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    1        (Witness excused.)

    2              THE COURT:     Mr. McDermott, do you have any additional

    3   witnesses or evidence that you would like to present at this

    4   time?

    5              MR. MCDERMOTT:     Yes, Your Honor.     I'd like to call

    6   the defendant's mother Tammie Watson to the stand.

    7              THE COURT:     Ms. Watson, if you would step forward,

    8   please.

    9        (The witness was sworn in.)

   10              THE WITNESS:     I do.

   11              THE COURT:     Hold on for just a moment, ma'am.

   12        Mr. McDermott.

   13                             DIRECT EXAMINATION

   14   BY MR. MCDERMOTT:

   15   Q.   Good afternoon, Ms. Watson.      Can you just state your

   16   name -- full name for the court reporter.

   17   A.   My full name is Tammie Lee Watson.

   18   Q.   And you are Tim's mother; correct?

   19   A.   Yes, I am.

   20   Q.   And you currently reside with your husband at that address

   21   in Hardy County; correct?

   22   A.   Yes, I do.

   23   Q.   Now, you've heard the testimony of your husband here today;

   24   correct?

   25   A.   Yes, I have.
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    1   Q.   Now, would you affirm everything that your husband has said

    2   about your son?

    3   A.   Yes, I would.

    4   Q.   And would you affirm everything your husband said about

    5   what you guys are willing to do to assure his compliance with

    6   any bond?

    7   A.   Yes, I do affirm all of that.

    8   Q.   Okay, ma'am.      Now, if you had to describe your son in only

    9   a few words, how would you describe your son?

   10   A.   Well, I'd say two words.       Humble and kind.    That's how I

   11   raised my boys.

   12   Q.   And why is that?

   13   A.   Just his character.       Just his compassion.    His need to help

   14   people when they need it.        He has this ability to see people

   15   that are in need, and he just feels like he has to help.

   16   Q.   Now, ma'am, I know your husband talked about your son being

   17   a talented musician, and I know the Government has talked a lot

   18   about the guns that he had.        But didn't he also have another

   19   piece of property that he was very possessive of and that was

   20   his guitar?

   21   A.   Oh, yes.   Yes.    Yes.    Oftentimes I'd say that Tim has five

   22   appendages: two arms, two legs, and a guitar.          He --

   23   Q.   Would he play for strangers --

   24        (Zoom distortion.)

   25   Q.   -- park?
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    1   A.   Oh, we had a Ruritan park not too far from the house.              And

    2   after school, he would go and sit on the picnic table.            And

    3   before you know it, people would -- kids would start coming out

    4   and even their parents.         And I think that that endeared him.

    5   The parents of the children would even come and listen to Tim

    6   while he was playing.          And he got a very big -- it was

    7   heartwarming for him to know that other people wanted to hear

    8   him and his expression of music.

    9   Q.   Now, ma'am, you've -- again, he's continued to play that

   10   guitar up until the present day; correct?

   11   A.   Yes, he does.      Yes.

   12   Q.   And you've listened to his songs and attended his concerts;

   13   correct?

   14   A.   Yes.    And I have quite a few CDs from him as well.

   15   Q.   And are his songs about the violent overthrow of the

   16   government or anything of the sort?

   17   A.   No.     Quite the contrary.      They're uplifting.   Talking about

   18   how the world is a crazy place, but we can all get together and

   19   get along.      You should hear some of the lyrics.        It would be

   20   telling of who he really is.

   21   Q.   And his band name is called Effusive; correct?

   22   A.   Yes.    Correct.

   23   Q.   And their songs are about trying to love everyone; correct?

   24   A.   Yes, they are.

   25   Q.   Okay.     Now, you've had the occasion to talk to your son
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    1   from the jail on the telephone as well; correct?

    2   A.   Yes, I have.

    3   Q.   And is the first thing that he talks about with you on the

    4   phone how sorry he is for what he's putting you through?

    5   A.   Yes.    Yes.   He -- every day.        I mean that's the first thing

    6   that comes out of his mouth just about every day is how sorry

    7   he is.      He's being portrayed to be this, and he's just sorry

    8   that we have to go through it with him because we are so tight

    9   knit.

   10   Q.   Now, do you think that if he's given bond release that he

   11   would do anything to jeopardize that and hurt you guys any more

   12   than he already has?

   13   A.   Absolutely not.      No.

   14   Q.   Okay.     Thank you, ma'am.        I don't have any further

   15   questions.

   16   A.   All right.     Thank you.

   17                MR. DOUGLAS:       No questions by the Government, Your

   18   Honor.

   19                THE COURT:     All right.      You may step down, ma'am.

   20   Thank you.

   21                THE WITNESS:       Okay.    Thank you, Your Honor.

   22        (Witness excused.)

   23                THE COURT:     All right.      Mr. McDermott, any additional

   24   witnesses or evidence that you'd like to present?

   25                MR. MCDERMOTT:       I don't have any other witnesses and,
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    1   of course, the Court has the character letters that I filed

    2   with the bond motion in this case.         And there was also the

    3   justification of surety that was filed and the nonaggression

    4   principle as well that was discussed on direct exam with the

    5   agent.     So that's the evidence that we're relying upon for this

    6   hearing, Judge.

    7                THE COURT:     All right.   Thank you.   All right.    The

    8   parties have both requested some time for argument.

    9       Mr. Douglas.

   10                MR. DOUGLAS:     Yes, Your Honor.   Your Honor, there's

   11   no condition or combination of conditions that can change a

   12   person's state of mind.        We can take away his guns.    We can put

   13   him in a different residence, but no combination of conditions

   14   can change a person's mind and their state of mind.          And he is

   15   dangerous.

   16       Kill them.     I'm going to kill them.       Blow up the building.

   17   I'm going to be a crazed gunman.         People need to fucking die.

   18   Techniques of silent killing.        A firearm that says the Biden

   19   Express.     It won't be pretty if they come here -- law

   20   enforcement.     What happens if he doesn't show up, and the law

   21   enforcement has to go try to get him?         He said it won't be

   22   pretty.    He even said after being shown the arrest warrant that

   23   he's been kidnapped.        This is not a state of mind that can be

   24   protect -- that can protect the community with some set of

   25   conditions.
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    1       I respect his parents for taking the stand.          Obviously on

    2   their son's behalf.     But I would note both of them said that

    3   he's being portrayed -- portrayed.         We're talking about his own

    4   statements and what people have said he said.         Things that are

    5   on his computer.     Things that are in a written journal.         Things

    6   that are on a video recording.         We're not making this up.

    7       And I thought it was telling -- of course the other

    8   statements in Ms. Cross's journal were very interesting, but

    9   what was also interesting is how she said, "What happened to

   10   the Tim I used to know?"      So we hear from his parents about how

   11   he was, but what happened to the Tim I used to know?          This is

   12   someone who lived with him every day in this small little

   13   apartment when he's in there printing these auto sears.

   14       So, Your Honor, we would argue that we have met our burden

   15   and showed that no set of conditions can ensure the safety of

   16   the community, and we'd ask that he be detained.

   17              THE COURT:     Just for clarification --

   18              MR. DOUGLAS:     Yes, Your Honor.

   19              THE COURT:     -- Mr. Douglas, the presumption does not

   20   apply in this place; is that correct -- in this case?

   21              MR. DOUGLAS:     The presumption does not apply.

   22              THE COURT:     All right.     I just wanted to make sure we

   23   had that on the record.      Thank you.

   24              MR. DOUGLAS:     Yes, Your Honor.

   25              THE COURT:     Mr. McDermott.
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    1              MR. MCDERMOTT:     Thank you, Your Honor.      And may it

    2   please the Court.     And what I would like to say here today is

    3   that Tim Watson may be many things, but a violent extremist is

    4   not one of them.     And what I would say is he's a staunch

    5   believer in liberty.     That's true.    He's a person that holds a

    6   high regard for the U.S. Constitution.        That's true.    And he

    7   may be an advocate for the -- and very vocal about his right

    8   to -- his Second Amendment rights.

    9       However, what one -- what makes one an extremist is the

   10   willingness to cause harm to others in furtherance of those

   11   beliefs.   And what I can tell Your Honor is that Tim, he's not

   12   willing to infringe upon other's rights.        He's not.    Unlike an

   13   extremist, he's not willing to harm anyone else or use

   14   violence; and unlike an extremist, he's not solely defined by

   15   his political beliefs.

   16       Now, again, the Government can talk about his state of mind

   17   and certain offhand comments that he may have made to his

   18   long-term girlfriend, but they don't have evidence of him

   19   planning any type of extremist action.        You would have heard

   20   that here today if there was any evidence of that, and there

   21   wasn't, Your Honor.     What you have is in his girlfriend's

   22   journal talking about how he sometimes gets excited and says

   23   certain things.     That's not anything that he intends to do.

   24   That's not his actual state of mind.

   25       Tim is someone -- more than anything, more than he's
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    1   defined by his love of the constitution, he's defined by

    2   someone who deeply cares and loves his family, his girlfriend,

    3   his community, and humanity, Judge.        And what I would ask this

    4   Court to do is reject this evil Boogaloo man that the

    5   Government is trying to create and recognize that Tim would

    6   never violate his bond.      He would never hurt anyone else and

    7   never hurt his family more than he's already hurt them by being

    8   in this case.

    9       And, Judge, the Government says that there's no conditions

   10   that may reasonably assure his appearance or the safety of the

   11   community; but I can tell you, Judge, and we propose a

   12   five-point plan for Your Honor to consider in releasing

   13   Mr. Watson on bond.     And I'd suggest that all those conditions

   14   can very reasonably assure the safety of the community.

   15       And the first part I think is the biggest part, Judge.           Is

   16   that his family -- you heard his mother and father here

   17   today -- are willing to put up their property.         Their property

   18   that they've worked so hard for, 40 years or more of working,

   19   to get their retirement property.       That's where they live.

   20   Where they plan to live out their lives.        And they're willing

   21   to put that on the line for Tim's compliance with his bond

   22   condition.    There is no way that that man sitting before you

   23   today, Mr. Watson, would do anything -- whatever else you may

   24   believe about him, there's no way he would do anything to

   25   jeopardize his parents any further.
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    1       And, Judge, I think with that condition, you can get a

    2   reasonable assurance that he's not going to violate bond, and

    3   he's going to show up as required.       And I can tell you, Judge,

    4   that when I met with Mr. Watson before I had this quarantine

    5   put upon me, and I met with him at the jail, his first concern

    6   was always his family and his parents.        I saw him break down

    7   crying not when we're discussing the case, but when we had to

    8   discuss the fact that his parents had to hire counsel for him

    9   and that he had to put his parents through that.          He started

   10   crying realizing that he caused that for his parents, and he

   11   couldn't believe that he had to put his parents through that.

   12   This is not a man that would go out and do anything to risk

   13   that.   To hurt his parents in any other way than they've

   14   already been hurt.

   15       Now, the other thing, Judge, I'd suggest as part of the

   16   five-point plan, the second point is that he can be placed upon

   17   home confinement with GPS monitoring at his parents' residence

   18   in the Northern District of West Virginia in Hardy County.

   19   And, again, Judge, that would assure that he's complying as

   20   required.   He's not going out.      He's not meeting with anyone.

   21   He's staying at his parents' residence other than medical

   22   appointments or going to see his attorney, Judge.          And, again,

   23   that can ensure his compliance with any bond conditions.

   24       And part of that five-point plan, Your Honor, would be that

   25   he not be allowed to use the internet.        He not be allowed to
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    1   use a smart phone.     And I think the smart phone is covered

    2   because out there, I don't think they even have a reception

    3   signal.     But they would be more than willing to remove any

    4   internet, any computer, any other device from their home so

    5   that he could reside there.      And, Judge, really any of the

    6   evidence against him in this case is all internet connected.

    7   It's any -- and the connections that he has are people on the

    8   internet.     As a part of his bond, Your Honor, he would not be

    9   allowed to go on the internet and not do any of those things.

   10   And I think that can assure that nothing bad would happen if

   11   he's released on bond.

   12       The other thing, Judge, you heard his father talk about is

   13   all the firearms have been removed from the home.          They have

   14   already been removed from the home.        So if he's going to be

   15   able to reside there, it's going to be --

   16       (Zoom distortion.)

   17               MR. MCDERMOTT:    There's not going to be any issue

   18   with a probation officer coming to the home and being in

   19   danger.     And of course the other thing, Judge, that I

   20   mentioned, the five-point plan, is that his parents would be

   21   third-party custodians.      They would report if their son is

   22   doing anything wrong.     And I think, you know, you can get a

   23   sense from them testifying here today that they're salt of the

   24   earth people, Judge, and that they would be more than willing

   25   to report if they thought their son was going to do anything
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    1   wrong.

    2       So, Judge, I think when you look at those five conditions

    3   and any other reasonable conditions Your Honor might impose, I

    4   think that's enough to ensure the safety of the community.

    5       And, Judge, you know, the other thing that you have to look

    6   at in this case of course is the strength of the Government's

    7   evidence and the weight of the evidence in this case, Judge.

    8   And one of the things I want to discuss is first of all, the

    9   constitutional significance of this case.         And I'm not talking

   10   about -- the case obviously has Second Amendment implications,

   11   Judge, about, you know, firearms and what is and what is not a

   12   firearm.   But really to me when I look at this case, I think

   13   the most important amendment right that we're dealing with,

   14   Judge, is the First Amendment right.        The freedom of

   15   expression.    And that's really what's being implicated here.

   16   And, Judge, I'd suggest to you that that First Amendment right

   17   is twofold.    And Tim, you know, I'll state has fervently

   18   advocated under the First Amendment for Second Amendment

   19   rights.    He's a strong believer in Second Amendment rights.

   20   Not strong enough that he wouldn't give up his firearms that if

   21   it meant going home to his family, but he has in the past

   22   strongly advocated for Second Amendment rights.

   23       Now, Judge, again, you heard evidence today about the

   24   portable wall hanger website.       That was an offshoot of his

   25   first website which was a Second Amendment charms website
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    1   where, again, it was different jewelry, different knickknacks

    2   that were designed with gun parts or to look like gun parts.

    3   And this, again, this portable wall hanger idea, Judge, it's

    4   not designed to get auto sears into the hands of violent

    5   extremists, Judge.     It's designed to show the ridiculousness,

    6   at least in my client's mind, of the American gun control

    7   policies, Judge.     It's designed to show the ridiculousness that

    8   a wall hanger that can be used to hang keys, to hang clothing,

    9   can be classified as a machine gun under the law.          And, Judge,

   10   again, this is important.      He didn't just go out there and sell

   11   these things as auto sears.      He went out and created a portable

   12   wall hanger that did not have the dimensions to be put into a

   13   firearm.   The only way that these things can be made to

   14   actually work as an auto sear would be for the end user to

   15   figure out on their own and go about modifying them to be put

   16   into a firearm.    The way that they were designed and shipped to

   17   people, they did not have the right geometric shape and size to

   18   be put in a firearm, Judge, and I think that's important.

   19   That's what we're dealing with is going to be the crux of the

   20   entire case against my client.       Whether that fits the

   21   definition -- whether that fits the definition of a part that's

   22   solely and exclusively designed to be made into a -- to convert

   23   a weapon into an automatic weapon.

   24       But, Judge, really, again, when he was making these things

   25   that could be seen as a form of political protest.          He was not
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    1   making them to be given to the Boogaloo in any kind of

    2   underhanded way.     He could have gone on Tor.      He could have

    3   gone on the black web and done this all without his name

    4   getting out there.     But, Judge, it's important that everything

    5   he did was done openly.      He went and registered his business

    6   with the West Virginia Secretary of State, Judge.          With his

    7   name, his address, and his phone number on there.          He wasn't

    8   trying to hide from what he was doing.        He believed what he was

    9   doing was legal, and he believed what he was doing was not

   10   selling a part that could be considered a machine gun.

   11       And, Judge, again, going back to the First Amendment

   12   implications, the second part of this case where I think

   13   there's a huge First Amendment concern and the First Amendment

   14   has to be talked about is when we're dealing with the

   15   Government who is making an argument for detention based upon

   16   some of Tim's political views.       He has libertarian views, but

   17   those views are protected by free speech, Judge, and free

   18   expression; and none of his views are outside of that

   19   protection.

   20       Judge, again, as the agent testified and was attached to

   21   the bond motion in this case as Your Honor has read, he had

   22   what's known as a nonaggression principle.         That the people in

   23   his group, this Team Panhandle that the agent said that he was

   24   aware of, all had to agree to abide by.        And the principle was

   25   that aggression is inherently illegitimate.         They do not incite
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     1   violence, they do not initiate application of force, and they

     2   do not act in any violent, offensive way at all.         This was an

     3   advocacy group, Judge.     This was a political group.       It was not

     4   a violent extremist group.      And, again, I think it's important

     5   because the First Amendment protects what he was doing there

     6   with that group.    The First Amendment protects him.        And the

     7   way that the Government is trying to portray him here today,

     8   he's not a violent extremist, Judge.       He was exercising his

     9   First Amendment rights in associating with that group.

    10       Now, Judge, again, you know, removing this case even from

    11   the constitutional issues, Your Honor has to look at the fact

    12   that these portable wall hangers, you know, first of all, they

    13   have to be taken off of their base if they want to be used in a

    14   firearm.   Then they have to be modified in some way that the

    15   agent wasn't aware of to turn them into a machine gun.          And,

    16   Judge, again, I've told you what the definition of a machine

    17   gun is.    I could -- I'll proffer to the Court that there's

    18   going to be a big issue and a colorable issue about whether

    19   these parts as they were shipped -- no matter what the ATF has

    20   said -- whether these parts can be considered to be machine gun

    21   parts, Judge.    And that's just the way it is.       The way that the

    22   definition is and the way these parts are designed, there is a

    23   colorable issue that's going to be at trial.

    24       So I think when you look at the weight of the evidence

    25   against Tim in this case, I think that the weight of the
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     1   evidence that the Government has right now is weak, Judge.

     2   And, Your Honor, the only other thing I'd mention about the

     3   weight of the evidence, I know that Tim has been charged with a

     4   conspiracy, and we've gone over that conspiracy count in the

     5   indictment.   I've seen it.     I've read that conspiracy count in

     6   the indictment.    But, again, you know, you can throw out the

     7   Boogaloo monitor -- moniker all you want.        But if you go and

     8   look in there, it doesn't suggest that there's any

     9   co-conspirator.    The co-conspirator that's alleged in the

    10   indictment is the person that Tim doesn't know that would have

    11   bought the portable wall hanger, Judge.        This is not a case of

    12   a conspiracy where there's co-conspirators, there's a big

    13   conspiratorial organization.      If anything, the conspiracy that

    14   the Government has alleged is a buyer/seller relationship which

    15   I think is prohibited by the law.       But for the purposes of

    16   bond, Judge, this is not someone that has connections to any

    17   Boogaloo movement, whatever that movement is, Judge.          This is

    18   someone that was in the Team Panhandle local group and does not

    19   have connections other than what he connected with on Facebook

    20   groups on the internet, Judge.

    21       So, again, and I think if you remove that part, if you

    22   remove the internet from him and don't allow him to go on the

    23   internet that would assure that he won't be able to connect

    24   with any of those persons -- anonymous persons that are in this

    25   so-called Boogaloo group.     And, Judge, again, I would suggest
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     1   to Your Honor -- and you're getting two very different

     2   pictures.     Pictures of how his parents describe him and

     3   pictures of how the Government describes him.         But I would

     4   suggest to you that his parents' picture that they're painting

     5   of Tim is the actual Tim Watson.       He's humble, kind, and

     6   genuinely cares about his fellow human beings no matter their

     7   race, gender, or political identity.

     8       This is important, Judge, and I asked his -- it's not just

     9   fluff when I asked his mom about his band, his band Effusive.

    10   The lyrics -- and, Judge, I put the website on -- in the bond

    11   motion so Your Honor could go and look and read some of the

    12   lyrics.     But they're the most positive lyrics.      Talking about

    13   the love of one another and how we all have to come together no

    14   matter our political views.      It's totally opposed to the way

    15   that the Government is trying to portray Mr. Watson, Judge.

    16   Mr. Watson is the person that will hold the door open for seven

    17   people in a row at a convenience store.        He is the person that

    18   will help friends and family with their opioid dependence.

    19   He's the person that will stop on the side of the road to help

    20   someone no matter who they are, Judge.        And, again, Your Honor

    21   has those letters, and I was able to obtain those letters in a

    22   short amount of time, and there's more letters coming in.           I

    23   saw some go to my email as I'm sitting here today in front of

    24   Your Honor.     That's the amount of community support that

    25   Mr. Watson has.     And they're going to keep coming in because
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     1   they're the people that really know who he is.         And who he is,

     2   he's not a threat to anyone, Your Honor.

     3       What I can say, Judge, again, if we're going about his

     4   political beliefs and his nonaggression principle where he

     5   believes you do not incite violence, you do not act violently

     6   in any way, he's about as extreme as Martin Luther King, Jr.,

     7   Judge.    His nonaggression is the opposite of extremism.        He's

     8   advocating for change and using nonviolent means to bring about

     9   that change, and I don't think that's something that should be

    10   considered dangerous, Judge.

    11       Your Honor, I would like to address some of the concerns in

    12   the pretrial services report, and I will note that the

    13   probation officer did recommend that he be detained; but I

    14   don't think the probation officer had full information at the

    15   time when that recommendation was made.        At the time, he gave

    16   the residence as the apartment that he was living in at the

    17   time of the offense; but what I can tell you, Judge, as Your

    18   Honor heard here today, he'd be residing with his parents in

    19   Hardy County.    A stable address that he can go back to in a

    20   safe --

    21       (Zoom distortion.)

    22              MR. MCDERMOTT:    It also mentions in the report that

    23   he used marijuana, Judge.     But, again, my client would be

    24   willing to abstain from using any drugs, including marijuana.

    25   And if that was a concern, Judge, I've already gotten set up to
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     1   begin outpatient treatment to make sure he abstains from any

     2   marijuana use with the Full Circle Healing Center and Joann

     3   Christian, Your Honor.     And she'd be willing to start seeing

     4   him for outpatient treatment right away if he's released.           So I

     5   think that can address any marijuana use or concern.

     6       The other thing, Judge, the probation officer mentioned is

     7   the lack of legitimate employment.       And as you heard his father

     8   testify to here today, Your Honor, he's been gainfully employed

     9   right until he was laid off before the pandemic, Judge.           That's

    10   never been an issue with Mr. Watson, and he would be able to,

    11   if the Court would allow him, to find employment again if he's

    12   released on bond.

    13       The other thing I'd note, Judge, there was concern about

    14   prior arrests and convictions.      The only convictions that

    15   Mr. Watson had I think was for a driving offense, a speeding

    16   offense that I saw in the pretrial services report, Judge.            The

    17   other, there was a possession of a handgun offense.          And that

    18   was I believe taken care of (indiscernible) before judgment,

    19   and so there was no conviction there, Judge.        And going back to

    20   that, Your Honor -- and I think this is important.         So there

    21   was an occasion when Tim was pulled over and arrested by a law

    22   enforcement officer for carrying a handgun.        There's no

    23   indication that he obstructed justice in that arrest.           There's

    24   no indication that he threatened the officers in that arrest.

    25   There's no indication that he otherwise cooperated as any
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     1   citizen would with the law enforcement officers in that arrest,

     2   Judge.    And that's exactly what Mr. Watson did when he was

     3   arrested in this case, Judge.      He cooperated with the officers.

     4   He didn't fight them.     He didn't threaten them.      He didn't try

     5   to act in any violent way towards them despite the fact that he

     6   had a handgun on his person, Judge.       That's not him.     That's

     7   not the way that he acts, Judge.       And, again, you can separate

     8   that from, you know, excited utterance saying, oh, if someone

     9   comes in like they came in on Duncan Lemp, I'm going to shoot

    10   them.    If someone tries to shoot me, I'm going to shoot them.

    11   Those are things that are said in the heat of the moment,

    12   Judge, between him and a loved one.       That's not how he acts as

    13   can be seen in the way that he's acted in this case and

    14   previously when confronted by law enforcement officers, Judge.

    15       So I think that many of those concerns have been addressed

    16   in this bond hearing here today and in the filing that we filed

    17   before this bond hearing that I think that there are reasonable

    18   conditions of his release that can ensure his appearance and

    19   get the safety of the community.       The other thing, Judge, that

    20   I will note in terms of bond -- and, again, this is important

    21   because he has a right to counsel.       And of course, you know,

    22   we're going forward with this hearing today as convened because

    23   he wants to go forward with this hearing today, but I'm not

    24   there in person to be there with him.       But, Judge -- and this

    25   is important.    When he's being held at the jail with the COVID
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     1   pandemic in place, it's very hard to be able to meet with my

     2   client and prepare a defense.      I was able to get in there

     3   before I had this issue come up where I had to take a test, a

     4   COVID test, but I wasn't able to talk to him since I last met

     5   with him on Thursday, Judge.      That was the last time I talked

     6   to him.     I was not able to get a phone call with him at the

     7   jail despite trying and trying to get a message back to him to

     8   set it up, Judge.     And that's just the fact of the way that

     9   we're living today with the COVID pandemic, but it infringes

    10   upon his ability to consult with counsel being held there

    11   pretrial, Judge.     And I think that with putting conditions in

    12   place that I've recommended that we can ameliorate that and

    13   have something in place where I can meet with him outside of

    14   the jail.

    15       And so, Judge, again, I would conclude here today by saying

    16   that the Government -- and Your Honor is aware -- has the

    17   burden to prove by clear and convincing evidence that there is

    18   no conditions that would reasonably assure his appearance and

    19   the safety of the community, Judge.       And, again, I would

    20   suggest that the Government has not met its clear and

    21   convincing evidence burden here today.        Again, there's no

    22   evidence whatsoever that Tim has ever acted in a violent

    23   manner.     The Government doesn't have it because it doesn't

    24   exist, Judge.     There's nothing to suggest that he's acted

    25   violently previously or will act violent in the future, Judge.
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     1       Again, what I would say that is any connection they're

     2   trying to paint him to a violent extremist movement, Judge,

     3   it's unproven and untrue.      This is -- the Tim that I know and

     4   have learned over the past few days, and his family more

     5   importantly knows, is not the person that they're trying to

     6   portray in here as today.      He's the person that puts family and

     7   loved ones ahead of anything else, and he is not going to

     8   violate the law, Judge.      He's not going to violate his

     9   conditions for release.      And I think with everything proposed

    10   here today that this Court can be reasonably assured that he

    11   will appear, he will not violate, and that the person that the

    12   Government is trying to portray today is not the person that he

    13   actually is, Judge.     So I'd asked that he be released on bail.

    14       Thank you, Your Honor, for listening to me and dealing with

    15   my voice that's fading right now.

    16              THE COURT:     Thank you, Mr. McDermott.

    17       Anything further, Mr. Douglas?

    18              MR. DOUGLAS:     No, Your Honor.

    19              THE COURT:     All right.   The Court will take the issue

    20   of bond under advisement.      We've heard a lot of evidence here

    21   today, and I certainly want to give that the time and

    22   consideration necessary to consider that particular motion.

    23       Let's turn then to the last matter on today's docket as far

    24   as this case is concerned and that is the arraignment.

    25       Mr. McDermott has the defendant had an opportunity to
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     1   review the original indictment with counsel, sir?

     2               MR. MCDERMOTT:     We have prior to this hearing, Judge.

     3               THE COURT:     All right.   And does the defendant waive

     4   the reading of the original indictment in open court?

     5               MR. MCDERMOTT:     He would waive the reading of the

     6   indictment in open court, Judge, and he'd enter a not guilty

     7   plea to all the charges contained in the indictment.          We'd also

     8   be requesting discovery here today from the Government.

     9               THE COURT:     All right.   Discovery and inspection is

    10   being requested.     All right.    Very well.     With that in mind,

    11   Counsel, these will be the dates and times utilized for your

    12   trial and pretrial with regard to this matter.          Government

    13   disclosures are due November 24, 2020.          Reciprocal discovery is

    14   due December 1, 2020.       Exculpatory evidence is to be disclosed

    15   by November 24, 2020.       All motions that you need to file need

    16   to be filed by December 8, 2020, and responses are due December

    17   15, 2020.    If a hearing is required on any motion, we'll

    18   conduct that hearing on December 16, 2020, at 1:30 P.M.          Your

    19   Rule 404(b), Jencks, Roviaro, and Giglio disclosures are due

    20   December 21, 2020.       Your voir-dire, instructions, and motions

    21   in limine are due December 23, 2020.       Your witness and exhibit

    22   lists are due December 21, 2020.        All plea agreements are to be

    23   submitted to the Court by January 5, 2021.          Your final pretrial

    24   conference before Judge Groh is set for January 7, 2021,

    25   starting at 9:30 A.M.       And finally with jury selection and
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     1   trial to commence on January 12, 2021, at 9:00 A.M.

     2       All right, Counsel, anything further that we need to

     3   address before we adjourn this afternoon?

     4              MR. DOUGLAS:     Not by the Government, Your Honor.

     5              MR. MCDERMOTT:        No, Your Honor.     And I appreciate you

     6   giving us the time in dealing with these technical issues.            And

     7   can I just have a minute to talk to my client on the phone

     8   before he's being taken out of the courtroom, Judge?

     9              THE COURT:     Yes.    And just give me --

    10              MR. MCDERMOTT:        It doesn't have to be on the record

    11   though.

    12              THE COURT:     Yeah.     We're not going to put anything on

    13   the record.   As a matter of fact, if there's nothing further,

    14   the defendant is remanded to the custody of the U.S. Marshal

    15   Service, and we stand adjourned.         We'll kill any of the

    16   microphones and mute that and allow you to discuss with your

    17   client before he's taken back to the Eastern Regional Jail.

    18              MR. MCDERMOTT:        Thank you, Judge.

    19

    20                    (Hearing concluded at 5:07 P.M.)

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     1                                CERTIFICATE

     2

     3               I, Kate A. Slayden, Registered Professional Reporter

     4   and Official Court Reporter of the United States District Court

     5   for the Northern District of West Virginia, do hereby certify

     6   that the foregoing is a true and correct transcript to the best

     7   of my ability of the digitally-recorded proceedings had in the

     8   above-styled action on November 17, 2020, as transcribed by me.

     9              I certify that the transcript fees and format comply

    10   with those prescribed by the Court and Judicial Conference of

    11   the United States.

    12              Given under my hand this 2nd day of December, 2020.

    13

    14

    15                                     /s/Kate A. Slayden

    16                                     Kate A. Slayden, RPR, CCR
                                           Official Reporter, United States
    17                                     District Court for the Northern
                                           District of West Virginia
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